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CDR                                                                                                                  A I R C R So"
                                                                  STANDARD INDUSTRIAL/ COMMERCIAL SINGLE -TENANT LEASE - NET
                                                                                 DO NOT USE THIS FORM FOR MULTI -TENANT BUILDINGS)
          i.   Basleprovlslans(" Bade PMA, lons").

              LS Parties. This Lease( - Lease"), dated forreference purposes only March 1, 2021 , Is made by and between DYER 18, LLC 1• Lessor land THE
          CITYOFSANTAANA (' Lassee•),( collectivaly the " Parties," orindividual"'      party).
              31 Premises: That certain real property, Including all Improvements therein or to be provided by Lessor under the terms of this Lease, commonly known as
          street address, city, state, sip): 1815 EAST CARNEGIE AVENUE, SANTA ANA, CA 92705 j"Premises' 1. The Premises are located In the County of
          ORANGE , and are generallydesull ed as( desalbe briefly the nature of theproperty and, If applicable, the "Project," If the property Is located within a Pro)ecl):
          AN APPROXIMATE 29, 503 SQUARE FOOT FREESTANDING INDUSTRIAL BUILDING . ( See also Paragraph 2)
               1. 3 Term:                                    1S            yeanand      0         months(" OriBlnal Term' l commencing              March .                        2021 (' Commencement Date") and ending lanuary3l.
          2036 ("               EMPlratlon Dare'). (                         See also Paragraph 3)

                1. 4                  Eady Possession:                       if the premises are avallabie Lessee may hex non- exclusive possession of the premises commencing                                         N/ A        I" Early possession Data').
          See also Paragraphs 3. 2 and 3. 3)

                LS Bara Rant $ 61, 666.00 per month ("Base Rent"), payable on the 15T day of each month commencing SEEADDENDUM . JSeealm
          Paragraphs)


                                      Ifthls box is checked, then are prMslons In this Lease for the Base Rant to be adjusted.                                            See Paragraph          SEEADDENDUM.
                1. 6                  ease Rent end Other Monies Paid Upon execution:

                                       a)                 Bese Rent $ 61, 666. 00 for the period 1ST MONTH RENT .
                                        b)                SecurityDeposit $ 200,         000. 00 ("
                                                                                                 Security       Deposit').(See        also Paragaph 5)
                                                                                                                                                     c)
                                       As ociation        Fees: for
                                                                 _                               the period d)
                                        Other: _          for                   a)

                                        TOW]              Due Upon Executlun of this Lease: $261,                    666 .1.

                7 Agre d              Use: EMERGENCY                   HOMELESS SHELTER AND ANCILLARY USES .(
                                                                                                           See                                                            also Paragraph 61 1.
                8 insuring            Party. Lessor is the- nwdng                                Party"unless   otherwise slated herein. S
                                                                                                                                         ( ea         also Paragraph 8)
                                                                                                                                                                      L9-
                Reel                  Estate Broken. (See                          also Paragraph 15        and 25) a)

                                        Reprsentaion:     Each Party acknowledges receiving a Disclosure Regarding Real Estate Agency Relationship, conflrms and consents to thefolowing agency
          relatfomhlps In                                       this Lease with the fol owing real estate brokers (' Broker(')') and/           or their agents (•AIq` elnt(s)'):
                                                                                                                                                                              Les or'
                s Brokerage Firm                                      N/ A Ucenw            No. Isthe
                                                                                                  _               brokerof( check onel: the              Lessor, or u both                    the Lessee and Lessor ( dual          agent). Lessor'

                s Agent N/ A Lkense                                             No._
                                                                                   lb(                  checkonel: the        Lessor' s Agent ( salesperson car broker associate);or                      both        the Lessee' s Agent and the Lessor'
          s Agent ( dual                                 agent). Lessee'

                s Brokerage Firm N/ A License                                               No. is
                                                                                                 —                 the broker of Icheck one):the         Lessee; or both                       the Lessee and Lessor ( dual          agent). Lesme'

                sngem N/A UicenseNo. _                                          Is lcheckonel:          the Lessee'            s Agent (salesperson or broker                      asso[ late);
                                                                                                                                                                                              car both      the        Lessees Agent and the Lessor' s
          Agent (dual agent). b)
                               Payment

                                           to             Broken.Upon execution and delivery of this Lease by both Parties, Lessor shall pay to the Broken the brokerage fee agreed to Ina separate written
          agreement ( or If                                                  there Is no such agreement, the sum         of_or of
                                                                                                                               _ %        the
                                                                                                                                                       total Base Rent) for the brokerage services rendered by the Brokers. 1.10
                Guar ntor. N/ A                                        ("                                                                                     Guarantor"). ( See      also             Paragraph 37)1.
                                                                                                                                                                                                                     12
                Atachments. Attached hereto are the fol owing, all of which consti ute a part Of this Lease: Q an
                  Addendum consi ting of Paragraphs 51 through 70                                                 a plot
                                      plan depleting Out Premises; a current

                                      set of the Rules and Regulations; a Work

                                      Letter; olher( specify):


                                      2.Premises.

          21     Letting.

                 Lessor                hembyleases             to Lessee, and Lessee hereby leases from Lessor, the Premises, for the                                                term, at the rental, and upon all of the terms, covenants and
          conditions set forth In this Lease. White the approximate square footage of the Premises may have been used In the marketing of the Premises for purposes of
          comparison, the Base Rent stated herein Is NOT tied to square footage end Is not subject to adjustment should the actual size be determined to be dif erent. NOTE:
          Lessee is advised M verify the actual size prior to executing this Lease. 2.2
                 foeauwhOak.-, fl-.


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           AIR CRE. All Rights                                  Reserved. Last Edited:                                                                                                                            2/25120219:        53 AM                     STN- 27.

           30, Revised 11- 254019 Page 1                                                                                                                                                                                                                   of 16
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   maybe      n




        2. 4 Acknowledgaments. Lessee atknowledges that; ( a) It has been given an opportunity to Inspect and measurethe Premises,( b) It has been advised by
   Lessor and/ or Brokers to ossify Itself wRh respect to the sloe and condition of the Promises fineluding but not limited to the electrical, HVAC and fire sprinkler
   systems, security, enerimnmenWl 3SPects, and compliance with Applicable Requirements and the Americans with Disabilities Act), and their suitability for Lessee' s
   Intended use, it) Lessee has made such Investigation as It deems necessarywlth reference to such masers and assumes all responsibility therefor as the same relate
   tolls occupancy of the Premises, ( dj It Is not relying on any representation as to the she of the Premises made by Broken of Lessor, ( of the square footage of the
   Premises was not material to Lessee' s decision to lease the Premises and pay the Rent stated herein, and ( rf neither lessor, lassoes agents, nor Brokers have made
   any aml or written representations orwarrantles with respect to sold matters other than as set forth In this Lease. In addition, Lessor acknowledges that f l) Brokers
   have made an representations, promifesorwarmAttes concerning Lessee' s abllltyto hones the lease or suitability to occupy the Premises, and 01) It Is Lessor' s sole
   responsibility to Investigate the pnancial capability and/ or suitability of all proposed tenants.
         2. 5 lessee as Prior Owner/ Occupant. The warranties made by Lessor In Paragraph 2 shall be of no force or effect If Immediately prior to the kart Dote Lessee
   was the owner or occupant of the Premises. in such event, Lessee shall be responsible for any necessary corrective work.
   3.      Term,
           3. 1     Term, The Commencement Dale, Expiration Date and Orlginal Term of this lease are as specified In Paragraph 1. 3.
         3. 2 Early Possession. Any provision hefein gronling Lessee Early Possession of the Premises is subject to andcorsdldoned upon the Premises being avalla use
   for such possession prior to the Commencement Date, Any grant of Early Possession only conveys a non-exclusive right to occupy the Premises. If lessee totally or
   partfailyottupios         the Premises prior to the Commencement      Date, the obligation     to pay Base Rent shall be abated tar the period of such Early Possession.   Allother
   terms of this tease fincludlne but not limited to the obligations to pay Real Property Ions and Insurance premiums and to malntaIn the Premises) shall be In effect
   during such period. Any such Early Possession shall not affect the Expiration Date.
           3. 3     Dehyln Possession Lessor agrees to use Its best commercially reasonable efforts todellver Possession of the Premisesto tessee by the Commencement
    Date. It, despite said efforts, Lessor is unable to deliver possession by such date, Lessor shall not be subject to say liability therefor, nor shad such fin lure offers the
   validity of this Lease or change the Expiraion Date, lessee shall net, however, be obligated to pay Rent or perform its other obligations until Lessor delivers
   possession of the Premises and any period of rant abatement that Lessee would otherwise have enjoyed shall run from the date of delivery of possession and
    continue for a period equal to what Lesseewould otherwise have enjoyed under the terms hereof, but minus any days of delay caused by the acts or omissions of
    Lesse.        If possesslon    is not delivered within 60 days after the Commencement       Date, ast               be extended under the terms of any Work Letter executed by


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   Parties, Lessee may, at Its option, by norm In writing within 10 days after the end of such 60 day period, cancel this Lease, In which event the Per des shall be
   discharged from all obligation hereunder, R such written notice Is not received by Lester within said 10 day period, lessee' s right to cancel shall terminate. it
   possesslon of the Premises is not delivered within 120 days after the Commencement Date, this Lea so shall lermnate unless other agreements are reached between
   Lessor and Lessee, In wilting.
         3A Lessee Compliance. Leaser shall not be required to tender possession of the Premises to Lessee fund Lessee complleswllh Its obligation to provide
   evidence of Insuance ( Paragraph 8.5). Pending delivery of such evidence, Lessee shalt be mqul red to perform all of Its allegations under this Lease Iron and after the
   Start Date, including the payment of Rent, nolwithstandmg Lessor' s election to withhold possession pending receipt of such evtdenm of Insure me. Fudher, R Lessee
   bye quired to perform
   condillonsare  satisfied.
                             any other conditions prior to or concurrent with the Start Date, the Start Date shall ocur but Lessor may elect to withhold possession until such

   4.        Rent.

             4. 1 Ram Defined. All monetary obliged0% of Lessee to Lessor under the terms of this Lease( exceptfor, the Secudly Deposit) are deemed to be fen t(" Rent"),
             4.2 Payment, lessee shall muse payment of Read to be received by lessor In lawful moneyofthe United States, without offset ordeduccon( except as
   specifically permitted In this Lease), on or before the day on which R Is due. All monetary amounts shall be rounded to the nearest whole dollar. In the event That any
   Invoke prepared by Lessor Is Inaccurate such inaccuracy shall not constitute amIverand lessee shah be obligated to pay the amount set forth In this lease, Rentfor
   any period during the termhereof which Is for lest man one full calendar month shall be prorated based upon the actual number of days of sold month. Paymentof
   Rent shall be made to lessor at Its address staled herein or to such other Persons or place as Lessor may from time to time designate In wrldng. Acceptance of a
    payment which Is less than the amount then due shall not be a walvef of lessor' s rights to the balance of such Real. regardless of Lessor' s endorsement of any check
    fostering. In the event that any check, draft or other Instrument of payment Even by Lessee to Lester Is dishonored For any reason, lessee agrees to pay to Lessor
    the sum of 81S In addition to any Late Charge and Lessor, at Its option, may require all Future Rent be paid bycashler's check. Payments will be apphed first to accrued
    late charges and attorneys fees, second to accrued Interest, then to Base Rent, Insurance and Real Property Taxes, and any remaining amount to any other
    outstanding charges or costs.

             4.3 Association Fees. Intentionally 0mitted.

   S. Saw fly Deposit. Lessee shall depositt with Lester upon execution hereof the Security Deposltas semdtyfor Lessee' s faithful performance of Its obligations
   under this Lease. IF Letters Fells to pay Rent, or otherwise Defaults under this Lease, lessor may use, apply or retain all or any portion of said Security Deposit for the
    payment of any amount already due Lessor, for Rents which will be due In the future, and/ or to relmbene, or compensate Lessorfor any liability, expense, lots or
    damage which Lessor"
                                     suffer orlmur by reason thereof If lessor uses Or applies all or any portion of the Security Deposit, Lessee shall within 10 days after
   written request therefor deposit modes with Lessor sufficient to restore said Security Deposit to the full amount required by this Lease. H the Base Rent Increases
   during the tam of this Lease, lessee shall, upon written request from lessor, deposit additional monies wish Lessor so that the total amount of the Security Deposit
   shall at all times bear the same proportion to the Increased Base Rent as the Initial Security Deposit bore to the InRlal Base Real, Should the Agreed Use be amen died
   to accommodate a material change In the business of Lessee or to accommodate a sublease* or assignee, Lessor shall have the right to Increase the Security Deposit
    to the extent namtssry, In Lessors reasonable judgment, to account for any Increased wear and teat that the Premises may suffer as a msuft thereof. It a change In
    control of Lessee occurs during this lease and following such change the financial ( ancestor, at Lessee Is, In Lessors reasonable judgment, significantly reduced, Lessee
    shall deposit such additional monies with lessor as shall be sufficient to cause the Security Deposit to be at a commercially reasonable level based on such change in
    martial condition. Lessor shall not be required to keep the Security Deposit separate from has general accounts. Within 90 days after the expladoo or terminadm of
    this Lease, Lessor shall return that portion of the Security Deposit not used or applied by lasso. Lester shall upon wdUun request provide lessee with an accounting
    showing how that portion of the Security Deposit that was not returned was applied. No part of the Security Deposit shall be coruldered to be held In trust, to bear
    Intea d or to be prepayment for any monies to be. paid by lessee under this lease. THE SECURITY DEPOSIT SHALL NOT BE USED BY LESSEE 1N LIEU OF PAYMENT OF
    THE LAST MONTH' S RENT.

    A.       Use.

         6. 1 Use. Lessee shall use and occupy the Premises only for the Agreed Use, or any other legal me which is reasonably comparable thereto, and for no other
    purpose. Lessees hall not use or permit the use of the Premises In a manner that11 unlawful, creates damage, waste or a nulsance, or that disturbs occupants of or
    ausesdamoge           to neighboring   prembot   or properUes,
    NM
                             ar. Lessor shell not unreasonably withhold or delay Its consent to any written request for a modification of the Agreed Use, so long as the same will
    not Impair the sUpctual Integrity of the Improvements on the premises or the mechanical or elecUlal systems therein, and/ or Is not significantly more burdensome
    to the Premises. If Lessor elects to withhold consent, lessor shall within 7 days after such request give written notification of same, which notice shall include an
    explanation of Lesser' sobjedlons to the change In the Agreed Use.
             6.2     Hazardous Substances.

                     a)    Reportable Uses Require Consent the term" Halardous Substance" as used in this Lease shalt mean airyprodual, substance, or waste whose
    presence, use, manufacture, disposal, transportation, or release, either by Itself or In combination with othermatedah expected to be on the Premises, stainer: ( h
    potentially injurious to the publicheaflh, safety or welfare, the environment orthe Premises, ( It)regulated or terminated by anygovemmontal authorlty, or ( Ili) a basis
    for potential liability of Lessor to any governments agency or third patty under any applicable statute or common law theory. Hazardous Substances shall Include, but
    not be limited to, hydrocarbons, petroleum, gasoline, and/ or credo all or any products, by- products or factions thereof. Lessee shell not engage In any activity in or
    on the Premises which constitutes a Reportable Use of Haeardous substances without the express prior written consent of lessor and timely compliance ( at Lessee' s
    expense) with all Applicable Requirements. " Rep amble Use" shall mean it) the Installation or use of any above or below gross nd storage tank 01) the generation,
    possession, storage, use, tansportation, or disposal of a Hazardous Substance that requires a permit from, or with respect to which a report, notice, registration or
    business plan Is required to be filed with, any governmental authority, and/ or Ilip the presence at the Premises of a Hazardous Substance with respect to which any
    Applicable Requirements         requires that a notice be given to persons entering or Occupying the Premises or neighboring      properdes.   Notwithstanding   the foregoing,
    Lessee may use any ordinary and customary materials reasonably required to be used In the normal course or the Agra ad Use, aMinory office supplies ( copier toner,
    liquid paper, glue, atc.) and common household cleaning materials, so long as such use Lin compliance with all Applicable Requirements, Is not a Reportable Use, and
    does not " Pole the Premltesor neighboring property to any meaningful ask of contamination or damage or expose lessor to any liability therefor. In addmon,
    la# or may condition Its consent to any " Peruble Use upon receiving such additional assurances as Lessor reasonably deems necessary to protect Itself, the publlq
    the Premises and/ or the environment         against damage, contamination,   Injury and/ or liability, Including, but not limited to, the Installation ( and removal on or before
    Lease explm don or termination) of protective modification ( such as concrete encesemenu) and/ or Increasing the Security Deposit.
         qn (b) Duty to Inform Leaser. If Lessee knows, or has reasonable auto to heliews th l a Hasa MomSubstance has come to be looted in, an, under at


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                L$

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        STN- 27.30, Revised 11- 25. 2019                                                                                                                               Page 3 of 16
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  about the Psemisas, other than as previously consented to by lasso, Lessee thall Immedlately give written notice of such fact to lessor, and provide Lessotwith a
  copy of any report, notice, claim or other documentation which It has concerning the Presence of such Harardous Substance.
              c) Lessee RamadaMon, Lessee shall not abuse or somnt any Hazardous Substance to be spilled or released In, on, under, or about the Premises
  pncluding through the plumbing or sanitary, sewer system) and shall promptN, at Lessee' s expense, comply with all Applicable Requirements and take all Investigatory
  antl/ or remedial action reasonably recommended, whether or not formally ordered at required, for the cleanup of any comammatton of and for the maintenance,
  Security and/or monitoring of the Premises or nelghboting properties, that was to used or materially contributed to by Lessee, or portaloing to or Involving any
  HaaRlous Substance brought onto the Premises during the term of this lease, by or lot Lessee, or any third party.
            d) Lessee indamnlRatlon. Lessee shall Indemnify, defend and hold Lessor, Its agents, employe es, lenders and ground lessor, If any, harmless from and
  against any and all loss of rents and/ or damages, Hablllties, judgments, claims, expenses, penalties, antl attorneys' and consultants' fees arisingout of or Involving any
  Hamrdout substance brought onto the Premises by or for Lessee, or any third party (provWed, however, that lessee shall have net IWbilityunder this Lease with
  respect to underground migration of any Hazardous Substance under the Premises from adjacent prope ales not caused or contributed to by Lessee). lessee' s
  obligattons shall Include, but not be limited to, the effects of any contamination or Injury to person, property or the environment created or suffered by tessee, and
  the cost of Investigation, removal, remedlatlon, restoration and/ or abatement, and shall Survive the expiration or termination oflhis Lease. Notarminaran,
  cancellation or release agreement entered Into by Lessor and Lessee shall release Lessee from Its obligations under this Lease with respect to Hazardous
  Substances, unless MeclHtallyso agreed by Lessor In writing at the time of such agreement.
               a) Lessor tndamnifation. Except as otherwise provided In paragraph 9. 7, Lessor and its successors and assigns shall indemnify, defend, reimburse and
  hold Lessee, Its employees and lenders, harmless from and against any and all environmental damages, Including the cost of remediation, which result ham
  Hazardous Substances which calmd on the Premlses prlor to lessee' s occupancy or which are caused by the grass negligence orwlllful misconduct of Lessor, Its
  agents or employees.                   Lessees obligations, as and when required by theAppilcabla Requirements, shall Include, but not be limited to, the cost of Investigation,
  removal, remedWtion,                   restoration and/ or abatement, and shall survive the explrafion or termination of this lease.
             0 Invastig3tiosn and Remedlations. Lessor shall retain the responsibility and pay for any Investigations or remedlatlon measures required by
  governmental entities having ludsdicdon with respect to the existence of Hazardous Substanceson the Premises Prior to lessee' s occupancy, unless such remedlatlon
  measure Is requlred as a result of Lessee' s use ( Including' AltemtioflV, as defined In paragraph 7. 3( a) below) of the Promises, In which avant Lessee shall be
  responsibleforlushpayment. Lessee shall cooperate fully In any such actiNUesat the request of Lessor, Including * lWng lessor and Lessor' s agents to have
  mesom ble guess to the Premises at Inestimable tames In order to Carry out lessor' s tnvesNgativeand remedial responsltelllHes.
             Jill Lessor Terminstlan Option. If a Hazardous Substance[ ondldOn lsee Paragraph 9.1( e)) Oscars dudng the term of this tease, unless Lessee b legally
  responsible therefor ( In which use Lessee shall make the Invesdgation and mmedlaUon thereof required by the Applicable Requirements and this Lease shall continue
  In full force and effect, but subject to Lessor' s rights under Paragraph 6. 2( dl and paragraph 13), lessor may, at Lessor' s option, either ( 1) Investigate and remedlize such
  HanNousSubstantst Condition, If required, as soon as reasonably possible at Lessor' s expense, In which event this lease shall Continue In full force and effect, or ( 11) If
   the estimated cost to Materials, such Condition exceeds 12 limes the then monthly Best Rent or $ 100,000, whlcheveris greater, glee written notice to Lessee, within
   30 days after recall at by Lessor of knowledge of the Occurrence of such Hazardous Substance Condition, of Lesstesdedre to terminate this lease as of the date 60
   days fallowing the date otsuch notice. in the event Lessor elects to give a termination notice, Lessee may, within 10days thereafter, give written notice to lessor of
   Lessee' s Commitment to pay the amount by which the Cost of the remedlatfon of such Hazardous Substance Condition exceeds an amount equal to 12 times the then
   monthly Base Rent or$ 100,000, whichever is greater. Lessee shall provide lessor with said funds at satisfactory assurance thereofwithin 30 days following such
   commitment. In such event, this Lease shall Continue In full form and effect, and Lessor shall proceed to make such remediation tie soon as reasonably possible attar
   the required funds are available. If lessee does not give such notice and provide the requlred funds or assurance thereof within the time provided, this lease shall
   terminate as of the date specl9ed                     In Lessor' s notice   of tennlnation.
                    6. 3   Lessee' s compliance         with Applicable   Requirements. ,                                                      Lessee shall, at Lessee' s sole expense, fully, diligently and
   In a Umety manner, material comply with Oil Applicable Requirements, the requirements of any applicable One Insurance underwriter or 00ng bureau, and the
   recommendation                  at Lasso es engineers and/ jar Consultants which relate In any manner to the Premises, without regard to whether said Applicable Requirements                                       are
   nowln effector becomeeffective after the Start Date Lesseeshall, within 10 days after n for                              of Les oes written request, provide Lessor with copies of all permits and
   Other documents, and                   other Information evidencing lessee' s compliance with any Applicable Requirements specified bytessor, and shall Immediately upon lecelpt,
    notify Lessor In writ ng ( withcopias of any documents Involved)of any threatened or actual claim, natce, drotion, warning, complaint or report pertaining to or
   Involving the failure of lessee or the Premises to Comply wish any applicable Requllements Ulttwlse, Lessee shall lmmnlatey give written notice to Lessor of:(1) any
    water damage to the Ptembars and any suspected seepage, pooling, damPMs% Or ether condition con ducwe to the production of mold; or fill any mustiness Or other
   odors that might Indicate the presence of mold In the Premises. In ad it on, Lessee shall provide copies of all relevant material safely data sheets ( MSDSI to Lessor
   within 10days of the receipt of a writen request therefor. In ad it on, Lessee shall provide lessor with coples of Rsbusines Ilceme, confiscate of oc upancy andkr
   any similar document within 10days of the receipt of a writ en request therefor. 6.
                    4 Inspectbm Compliance. Lessor          and Letsar' 3"
                                                                         lender'( as             defined In Paragraph 30)and consultants authorized by Lessor shall have the right to enter into Premises
   at any time, In the case of an emergency, and otherwlseat reasonable time safter reasonable notice,for the purpose of Inspecting and/or testing the condition
   of the Premises and/or for verifying Compliance by Lessee with this Lease. The cost of any such Inspections shall be paid by Lessor, unless *violation of Ap licable
   Requirements, Ora HazardousSubstance Condition (see paragraph 9A)          ls found to exist Or be Imminent or the Inspection Is requested of ordered by a governmental
   authority. in such Case,Lessen shall upon request reimburse Leuor for the cost of such Inspection, so Zang as with Impeacal Is reasonably related to the
   violation or contamination. In addition, Lessee shall provide copes of all relevant material safety data sheets (M5115) to Lessor within 30 drys of the receipt of a wdtienrquethrefo.
   Lessee                        acknowledges that any failure on its part to allow such Inspections attesting will expose lessor to risks and potential y Cause Lessor to
   incur Cosh not Contemplated bytes Lease, the extent of which will be extremely difficult to ascertain. Accordingly, should the lessee Improperly or unreasonably
   fan to agowtu h nspetionsa ronest rig Ina timelyashlon Lessee shall pay to Lessor a fee in the amount of soothe 9%
             5 0 Real shal stafflaw Wily                Of 1901H
                                                            #                                                                                                                     INIA911A    Q.10 Pass OF H00rwkkhev The

   Parties                                                                                agree that such feeIna* aaOzr,4Rao4 reprewntsfair and          reasonable compensation for the additional rlsk/
   cosh that Lessor will Incur by reason of Lanto' sfailure to allow such Inspection and/or testing.Such fe wAmoa4w basAtae shall In no event vinsti ole a walver
   of Les e ' s Default or Breach with respect to such falluro nor prevent the exerthe of any of the other rights and remedies granted It Crowder. 7.
                                                                                                                                                    Mainte ance; Repaint;
   Util ty          Inttalladons; tr*       de Natures and Alterations. 7.
                                                                         1 Lessee'
                    s obligations. a)
                                    In General,
                            l    apron yyeete-" d4 ),            Lessee


                                                                               expense,                   keep the         shall,        Premises, Utility Instal ations ( intended          for 1 INITIALS 02019AIRCRE,


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     Reserved.                        Last Edited. 2/                                                                                                                        25/ 20219: 53 AM STN. 27. 30,

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   Lessee' s exduslve use, no matter where Iocatedl, and Alterations In good order, condition and repair ( whether or not the portion of the Premlses requiring repo Its, or
   the means of repairing the same, are reasonably or readily Accessible to Lessee, end whether or not the need for Such repairs occurs as a result of Lessee' s use, any
   prior use, the elements or the age of such portion of the Premises), Including, but not limited to, all equipment or fadllties, Such IS pfumbhV, HVAC equipment,
   eledrlcal, lighting facilities, ballets, pressure vesseH, fire protection systom, fixlums, walls ( Inlarlorand exterior), loundanonf, ceilings, roofs, roof drainage systems,
   floors, windows, doors, plate glass, skylights, landsaping driveways, parking lots, fences, relalnfng walls, signs, sidewalks and parkways located In, on, or adjacent to
   the Premises. Lessee, In keeping the Premises In good order, condition and repair, shall exerdse and perform good maintenance practices, spedgallyfncluding the
   procurement and maintenance of the service comracU required by Paragraph 7. 1( b) below. Lessee' s obligations shall Indude restoradons, replace meals or renewals
   when necessary to keep the Premises and all Improvements thereon or a part thereof In good order, condlgon and state of repo It. Lessee shall, during the term of this
   Laaw, kaap the exterlor appearance of the Building Ina Nat -dam condition ( Including, Ag, grefNtiremoval) consistent with the exterlor appearance of other similar facilltiosof
   comparable age and site In the vicinity, Including when necessary, the extorter repainting or the Bulli ing. bi
                               Servlcetantram. to Ism shall, at Les e ' s sole expense, practice and maintain contracts,with wples to Les or, in customary farm and substance for,and
   with Controt ors sisecfathing and experienced In the maintenance of the fol owing equipment and Improvements, B any, Band when Instelled on the Premises: Ill HVACequipment,(
   11)                         bole5 and pres ureves els, ( 1111 fire exn gulshing Systems, including Are alarm and/ or smogs detection, f iv)
                                                                                                                                             landsping and Irslgation systems, Iv)
                                                                                                                                                                                 roof
   covering and drains, and lvil clarifiers. HOWr, lessor reserves the right, upon twice to Lessee, to procure and maintain any or all of such service contacts, and lessee shall
   reimburse Lessor, upon demand, for the cost thereof. c)Pollute to
       Perfom. If Les e falIS to perform Lessee' s obligations under this Paragraph 7.      1,Lesser may enter upon the Premises after 10ofWs' prior written nodes to
   Le me e(xcept In the use of an emergency, In which case no nodes shall be mqulmd), perform such Obligations on lessee' s behalf, and put the Premises In good
   order, conditon and repair, and lessee shall promptly pay to lessor a sum equal to 115%Of the cost                      thereof. d)Re placement,
                     Subject to lessee' clndemnificanon of Lessor as Set fonh In Paragraph 8.7 below, and without relieving lessee of liability resulting from Lessee' s failure
   to ex rcise and perform good maintenance practices, if an Item described In Paragraph MID)cannot be repaired other than at a cast which Is In excess of 50%of
   the test of replacing Such Item, than such Item shall be replaced by lessor, and the cost thereof shall be prorated between the Parties and Lessee shall only be obllgaled to
   paw each month during the remainder of the term calms Lease or anyextemlon thereof, on the time on which Dam Rent H due, an amount equal to the product Of
   multiplying the Wit of suds replacement by a fraction, the numerato of which Is one, and the denornmelor of which Is 144ILA 1/
                                                                                                                                14 th of the cost per month). Lessee shall
   pay Interest cn the unamordud balance but may prepay Its obligation at any dose. 7.2 lessor'
        s Oblgaliem, Sublets in Ica pri,wtlo., of Palo'. ph, 7 v (Co.; --._      raj O a ((-,nosh_-,—J 4( symappa_ m ) and 14( fg '           nation) his Intended by the
   Parties hereto that Lessor have no oblgation, In any manner whatsoever, to repair and maintain the Premises, or the equipment therein, all of which ohl gadons are Intended
   to be that of the Lessee. It Is the Intention ofthe Parties that the terms Of this Least amarn the respective obligations of the Parties as to maintenance and repair
   of the Premises. 7.3 Utinty
    Snsutiedonr Tmde Nxlures; Atteadons, a)
                                          0egnitLaro. The
                      term" UHllty matal adond refers Malt floor and window coverings, air and/ or vacuum lines, power panels, electrical dim a button, security and fire
   protection systems, communication cabling, Rghtlngfixtures, HVAC equipment, plumbing, and fencing In or on the Premises. The term ire de Fissures" shall mean
   Lessee' s machinery and equipment that on be remover) without doMg material damage to the Premises. The term "Alterations" shall mean any modification of the
   Improvements, other than Udllty Instal ations or Trade Fbnures,whether by addition w deletion. "Laws Owned Alterenonsamd/ ot Utility Installations' am defined
   as Alterations and/or U91KY Instal ations made by Lessee that are not yet owned by Lessor Insist ant to Paragraph 7.4(a),
                                                                                                                          b) Consent Les e
                   shal not make any Alterations or Utility Installations to the Premises without Lassoes prior written co"m.Lowe may, however, make non-sttucNaf
   Anerattans or Udhty Imtalladons to the Interior of the Premises (excluding the noon without Such consent hot upon notice to Lessor, as long as they are not
   visible from the outside, do not Involve puncturing, relocating or removing the all or any existing wells, Will rest affect the eleadal, plumbing HVAC, and/or life
   safety system, do not trigger the requirement for addldonal modlNationsand/ or Improvements to the Premises resulting from Appllcable Require menLs, such as compliance
   with Title 24,ono She Cum dative oust thereof during this Lease as extended does not exceed asum equal to3 monlh' s.               Base Rent In the aggregate or sum equal
   M one months Base Rent In any One year. Notwithstanding the foregoing Lessee shall not make of permit any roof penmyttiom and/ or Install anything on the
   roof without the prior wrltan approval of lessor, Lester may, as a preanerdon toganting such approval, require lessee to utiltso a contractor chosen and/ or
   approved by lessor. Any Alterations or Utility Installations that Lessee shall desire to make and which require the convertor the Lessor shall be presented to Lessor
   In writ en tam with detailed plans. Consent shell be deemed conditioned upon LessemV (U acquiring all ap licable governmental permits, fill furnishing Lessor with
   copies of both the permits and the plea and spedflations prior to mmmenmment of the work, and (III)Compliance with all asdldons of said Permits and other
   Applicable Requirements Ina prompt and expeditious manner, AMY McMlons or LoRty Insrailenomshall he performed Ina workmanlike manner with good and
   Sufficient materials. Lasso shall promptly upon wmptedon furnish Lessor with as built
                                                                                   -     plans and specifications. For work which wits an amount In excess of one
   monhss Base Rent, Lessor maywndition Ilswnsent upon Lessee providing alien and completion bond in an amount equal to 150%
                                                                                                                           of the estimated woof such Alteration
   of Utility Installation and/ or upon Lessee' s posting an ad itonal Security Deposit with lessor. It)
                                                                                                       Uema Bonds.
             Lessee shall pay, when due,all claims ror laborer materials furnished or alleged to hwo, been furnished tow for Lessee at or for use on the Premises, which
   claims are or maybe secured by any mechanic' s or materialmen' s lien against the Premises or any Interest therein. tame shall give Lessor not less than 10
   days nonce pilot to the commencement of any work In, on or about the premises, and Lessor shag have the right to post not cesof non- reaponslbil ty, If Lessee shall contest
   the validity of any such Der, claim or demand, then Lessen shall, at Its Sole expense defend and protect Itself, Lessor and the Promises against the same and shag
   pay mid Satisfy any such adverse judgment that my be rendered thereon before the enforcement thereof. If Lessor shall require, Lessee shall furnish a surety bond
   In an gmoumequal to 150%of the amount of Such contested lien, daimon demand, Indemnifying Lesser against tiabllltyfor the tame. If Lestor elects to partidpate In
   any such action, Lessee shall pay Leiter' s attorneys' fees and costs. 7.4 Ownership;
         Famovatl sur ender,   and Restoration. ja)
                                                  Ownership. Subject
                           to         Lessor' s light to require mmmal Or elect ownership as he remoter provlded, all Alterations and Utility installadom made by Lessee shall be
   the property atLemea, but considered apart of the Premises. Lessor may, at any time, area lnwdUng to be the owner of all many specif ed pan of the Lessee Owned
   Alterations and Uellly Installations. Unless othermse Instructed per paragraph 7.               41Of hemof, all lessee Owned Alterations and Utility Installations shall. at the
   expiration or termination of this Lease,bewmo the property of Lessor end he surrendered by Lessee with the Premises. b)                   Removal. By
                             delivery to lessee of writ en nortce from Lessor not earlier than 90 and not later than 30 days prior to the end of the term of this lease, Lessor may require
    that any of all Lessee Owned Alterations or Utility Installations he removed by the expiration or lermination of this lease,Lessor may require the removal at any
    nme of all or any part of any Lessee Owned Alterations or Utility Installotions made without the requited consent. cl Surrender, Destination.
                               Lessee   Shall   surrender   the Premises by the Expiration Date or any earl let erinmation date, wish all of the Improvements, pans and surfaces
    thereof broom clean and into of debris, and In good operating order, condition and state of repair, ordinary wear and tear excepted. "Ordinary wear and                  Lear"
    shall notindu la any damage of detefloradwi that would have been pteygmed by good maintenance practice. Notwithstanding the foregoing and the provision of Paragraph
    7.
     1(a),
        If the Les e Oc upies the Premises for 12 months or less, then lessee shall surrender the Premises In the Same condit on as delivered INITIALSINI 02019AIRCRE, All



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   to Lessee on the start Date with NO allowance for ordinary wear and tear. Lessee shall repair any damage occasion ad by the Installation, maintenance or removal of
   Trade Fixtures, lessee owned Alterations and/ car Utility Installati m, Furnishings, and equipment as well as the resnwel of arry storage tank Installed by or for Lessee,
   Less" shall also remove from the Premises any and all Hazardous Substances brought onto the Premises by or for Lessee, or any third parry (except Hazardous
   SobsUmeet which were deposhed via underground migration from areas outside of the Premises) to the level specified In Applicable Requlrera It Trade Fixtures
   shall remain the property of Lessee and shall he removed by Lessee. Any personal property of lessee not removed on or before the Expiratfoo Date or any ea kef
   termination dale shall be deemed to have been abandoned by Lessee and may be disposed of of retal nod by Lessor as Lessor may desire. The failure by Lessee to
   Bmely vacate the Premises pursuant to this Paragraph 7, 4( c) without the express wrlHen consent of Lessor shall constitute a holdover under the Provisions of
   Paragraph 26 below.

   8.         Ins ur vross Indemnity.
         8. 1 Payment Forlmuronce. Lessen shall pay for all Insurance required under Paragraph 8 except to the extent ofthe cost attributable to liability Insurance
   carded by Lessor under Paragraph & 2( b) In excessof 52, 000, 000 per occurrence, Premiums forpollry periods commenctng prior to or extending beyond the Lease
   term shall be prorated to correspond to, the Lease term Payment shall be made by Lessee to lessor within 10 days following receipt of an Invoice.
              IL2   liability Insurance,
                    a)          Carded by lessee. Lessee shall obtain and keep In Forces a Commercial General Liability pollcyof Insurance protecting Lessee and Lessor as an
   additional Insured agalnstclaims for bodily Injury, personal Injury and property damage based upon or arising out of the ownership, use, occupancy or maintenance of
   the Premises and all areas appurtenant thereto Such Insurance shall be on an occurrence basis providing single limit coverage In an amountnat tau than $ 1, 000, 000
   per occurrence with an annual aggregate of not less than $2, 000,000. lessee shag add Lessor as an additional insured by means of an endorsement at lead as broad
   as the Insurance Service Organization' s " Addidanal Insured- Managen or Leiters of Premises" Endorsement. The policy shall not contain any infradnsured exclusions
   as between Insured persons or organkations, but shall Include coverage for liability assumed under this lease as an " Insured contract" for the performance of Lessee' s
   Indemnity obligations under this tease, The limits of sold Insurance shall not, however, limit the liability of lessee not relieve Lessee of any obligation hereunder.
   Lessee shall provide an endorsement on Its IUbilitypollcy(lesj which provides that its Insurance shall be primary to and Trot contributory with any similar Insumme
   carded by Lessor, whose Insurance shall be considered excess insurance only.
              b) Grrledby Lessor. Lessor shall maintain Ilablllty Insurance as de scribed In Paragraph 8ajal, In addition to, and not in lieu of, the Insurance required to
   be maintained by Lessee. Lessee shall, to the extent available, -nit be named as an additional Insured therein, rile City of Santa Ana,
   and its officers, employees, agent and representatives, shall to the extent no cost is incurred with
   respect thereto and to the extent reasonably available to Lessor shall be additional insureds with
   respect to any general liability or auto liability policy obtained by Lessor, by endorsement, and all
   such insurance policies shall be primary and non- contributory. Lessor shall send certificates of such
   insurance to Lessee to its Risk Management Division, 4th Floor, 20 Civic Center Plaza, Santa Ana
   92701,
      8. 3 Property Insurance- Building, Improvements and Rental Value.
                     a)         Building and Improvers eats, The lnsudng Parry shall obtain and keep In lorce a policy or policies in the name of Lessor, wish loss payable to Lessaq
   any ground- Naor, and to any lender Insuring loss or damage to the Pmmises. The amoont of such Insurance shall be equal to the full Insurable replacement cost of
   the Premises, as the same shall exist from time to time, or the amount required by any Lender, but In no event more than the commercially reasonable and available
   insurable value Is Proof. Lessee Owned Alerattons and Utility Installations, Trade Fixtures, and Lessee' s personal properly shall be Insured by Lessee not by lessee If
   the coverage Is available and commercially appropriate, such policy or polkles shall insure against all risks of direct physical loss or damage (except the perils of good
   and/ or earthquake unless required by a Lenderb 4uluding coverage for debris removal and the enforcement of any Applicable Requirements requiring the upgrading,
   deny llgon, reconstruction or replacement of any portion of the Premises as the result of a covered lost. Sold policy or policies shall also contain an agreed valuation
   provision In lieu of amycolnsurince obusa, waiver of subrogation, and Inflation So end protection cal on Increase In the annual properly Insurance two rage
   amount by a factor of not less than the adjusted U.S. Department of labor Consumer Price Index for All Urban Consumers lot the city nearest to where the Premises
   are looted. If such Insurance coverage has a deductible clause, the deductible amount shall not exceed $5,000 per occurrence, and lessee Shall be liable for such
   deductible amount In the event of an Insured Lass.
                     b) RentalValue. The Insuring Patty shall obtain and keep In force a policy of policies In the name of teaser with loss payable to lessor and any Lender,
   Insuring the loss of the full Rent for              year with an exlondad period of Indemnity for an additiontl IN days (" Rental Value insurance"), said Insurance shall contain
   an agreed vatuadon provision In lieu of any coinsurance clause, and the amount of coverage shall be adjusted annually to reflect the projected Rent otherwise payable
   by Lessee, for the next 12 month period. Lessee shall be liable for anydeductibie amount Id the event of such Sass.
                     c)         Adjacent Premheo. ii the Pro miles are part of a larger bulldln& orof a group of buildings owned by Lessor which are adjacent to the Promises, the
   Lessee shall pay lot any Increase In the premiums forthe property Insurance of such building or buildings If said Increase Is caused by lessee' s acts, omisslont, use or oc upancy
   of the Premises. 94
    Lessee' sProperty; Business              Interruption Insurance; Worker'    s Compensation Insurance. a)
                     Property   Dom Pat.Letters shall obtain and maintain Insurance covenge on all of lessee' s personal property, Trade Fixtures, and Lessee Owned Alterations
   and Utility Instal ations. Such Insurance Shall be full replacement cast coverage with a deuctible of not to exceed $ 1.00 per occurrence. The proceeds Isom
   any such insurance shall be used by Lessee for the replacement of personal property, Trade Fixtures and Lessee Owned Alterations and Utll ty Instal ations. b)
                  Busines late munition. Lessee shall obtain and mainraln loss of Income and extra expense Insurance In a mounts as will reimburse lessee for director Indirect
   lam of earnings attributable to all perils commonly Insured against by prudent lessees in the business of Lessee or at ributable to prevention of acces to the Premises
   as aresult of such perils. It)
                 Worker' s Compensation lmurome. Lessee shall obtain and maintain WorkePSCompemadon Insurance In such amount as may be required by Applicable
   Requirements. Such policy shall Include a'Waiver of Subrogation' endorsement. Lessee shall provide Lessor with a copy of such endorse mant Lalong withthe cardhate
   of Insurance or copy of the policy required by paragraph &5.
                                                              it)No Reprosant ian
                 of Adequate Camomile. Lessor makes no representation that the limits or(amis of coverage of insurance specified herein a re adequate to cover
   Lessee' s property, business operations or        obligations under   this Least, eb Insurance Polities.
              Insurance required hereto shall be by companies malnalning during the policy term a"General Policyholders Rating" of at least A-,VII, asset forth In
   the most cur ent Issue of R
                             " od' s Insurance Guide', of such other              rating as maybe required by a Lender. lessee shag not   door permit to be done I gwhlen Invalidates
        the     required lnsurancepolicles. Lessee shag,prior to the Start Date, deliver tolessorcertified copies of policies ofsmh insurance or INITIALS 02019AIRCRE. All


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   certlHotes with Copiesof the required endorsements evidencing the extstersco and amounts of the required Insurance. No such policy shall be cancelable or subject
   to modlficadon except alter 30days prior written nodce to Lessor. Lessee shall, at least lOdays prior to the expiration of such policies, furnish leaser with evidence of
   renewals or' Imurance hinders' evidencing renewal thereof, or Lessor may Increase his liabilityInsunnn coverage and charge the cost themof to Lessee, which amount
   shall be payable by Lessee to Lessor upon demand. Such policies shall be for atom of at leas) one year,or IhelenBth of the remaining term of this lease, whichever
   Is less. If either Party shall (all to procure and maintain the Insurance required to be carried by It,the other Party may,but shall not be required to,
                                                                                                                                                          procure and
   maintain the same. 8.

                   6 Welver of Substation. Without                         affecting any other rights or remedies, Le rise and Lessor each hereby release and re8eve the other, and waive their surmise right
   to recover damages against the other, for loss of or damage to Its property arising out of or Incident to the perils required to be Insured against heroin. The effect
   of such releases and waivers is not limited by the amount of Insurance carried or required, or by any deductibles applicable hereto.The games agree to have their
   respective property damage Insurance carriers waive any right to subrogation that such companies may have against lessor or Les e , as the case may be,so long
   as the Insurance H not Invalidated thereby. 8.
             7 Indemnity. Except for Lessor' s grosJ negligence or wll ful misconduct lessee shall indemnity protect,defend and hold harmless the Premises, Lessor and its
   agents, Leswh' s roaster or ground lessor,partners and Lenders, from and against any and all claims, foss or rents and/or damages, liens,judgments, penalties, attorneys'
   and consultants' fees,expenses and/or liabil ties wising out of,Involving, or In con ection with,a Breach of the Lease by lessee and/or the use and/or OCCUR
   ncy of the Premises and/or Project by Lessee and/or by Les e s employees, ton tractors or inyhe s. It airy action or proce ding Is brought against lessor by reason
   of am of the foregoing malted, Lessee shall upon notice dOle rid the some al Lessee' s expense by Counsel feawnabty sallsfactary to Lessor and Lessor shell Coupe rale
   with Less" In such                                       defense, lessor need not have tint paid any such cbim In order to be defended of IndemNRed. B.8
     Exemption of Lessor and its Agents from Ushifhy. Notwithstanding the negligence or breach of this Lease by Lessor or Issagents, neither Lessor nor Its agents shall
   be liable under any Circumstances for. 0
                                          (          Injury or damage to the person or goods, wares, merchandise or other property of lessee, Lessee' s employees, contracos, Invitees,
   customers, or any other person In or about the Premises, whether such damage or Injury Is Caused by of results from Rise,steam, electricity, gas, water or
   rain,indoor air qualitg the presence of maid or from the breakage, leakage, obstruction or other defects of pipes,RIO sprinklers, wires, appliances, plumbing, HVAC or
    lighting Rxteres, or from any other note, whether the said Injury or damage results from conditions arising upon the Premises or upon other pardons of the building of
    which the Premises are a pan, or from other sources or places, pl)any damagesaming from any ad or neglect of any other tenant of Lessor or from the failure Of
    Lessor a Its agents to enforce the pwlslons of airy other lease In the Project, or 1111) Injury to Lessee' s business or for any lossof income or front therefrom. Instead, It
    Is intende that Lessee' s sole recourse In the event of such damages or Injury be to file a claim on the Insurance pallcy(ies)that Lessee Is required to maintain pursuant
    to the provisions of paragraph 8,19 Falls
      re to Provide Insurance. Lessee acknowledgesthat Any fallure on its pan to obtain or maintain the Insurance required herein will expote Lessor to risks and
    potential y Cause Lessor to Incur costs not Contemplated by this lease, the extent of which wil be extremely dif icult to ascertain. Ac ordingly, for any month or portion
    thereof that Lessee does not maintain the required Imurance and/or does not provlde Lessor with the required binders or certificates evidencing the existence of
    the required insurance after notice and resaonable opportunity to cure, Lessee shall pay to Lessor a fee of $500
    eaeMH agaaaeaem                                                                                                                                                                                        The parties

                                                                      agree that such fee -Inueasa.' All ata Rewa represents fair and reasonable compensal on for the ad it onal riskfcosts that Lessor will
    incur by reason o(Lessee' s failure to maintain the required insurance, Such Increase In Base Rent shall In no Went consti ute a waiver of Lessee' s Default or breach
    with respect to the failure ton Intaln such Insurance, prevent the exerdse of any of the other fight&and remedies granted hanunde, nor sellers Lessee of its obligation
    to maintain the Insurance specified in this Lease. 9.Damage

    or             Destruction. 9. 1
                   Definldons. lal "   Premass

                                       Partial          Damage shall mean damage or destruction to the hnpeavememson the Premises, other than Lessee Owned Alteratlonsand VURty Installations, which
    can                                            reasonably be repalred in 6 months or less from the date of the damage of destruction. Lessor shall               notify lessee In wrmng within 30 days from the
    date of the damage or destruction as to whether Or not the damage Is Partial or Total. of "PremisesTotal
                                         Destruction*   shall mean damage or destruction to the Premises, other than Lessee Owned Alteduons and Utility, installations and Trade Futures, which
    cannot reasonably be repaired In 6 months or loss from the date or the damage or destruction. Lessor shall nably                                                        lessee In writing within 30 days from the
    dale of the damage oraeslrudlon as to whether                                           or not the damage Is Partial or total. t)
                                                                                                                                    Insured Coss"        "
                                         shal           mean damage or destruction to Improvements on the Premises, other than lessee Owned Alterations and Utility lnsalladom and Trade Futures, which
    was Caused by an event required to be covered by the Insurance tie stilted In Paragraph 8.
                                                                                             310), Inespecliveof any deductible                                            amounts of coverage limits involved.
    d)
     RepiacemenlCost" shall
                       "

                                         mean           the costte repair or rebuild the Improvements owned by Lessor at the time of the occurrence to their condition existing Immediately prior
    hereto, Including demOlibon, debris mmovaland upgrading required by the operation of AppRable Requirements, and without deduction fordepreclatiom e)
                                                                                                                                                       Harerdous
                                                                                                                                                             "
    Substance

                                           Eondtion"    shag mean the Occurrence or discovery are Condition involving the presence of,are contamination by, a Hazardous Substance, In,
    on,or                                                    under the Premises which requires mnotation . 9.
                                                                                                            2 Partial Damage -

                    insured Los , If Premises Partial Damage that is an Insured Loss oc urs, then Lessor shalt at Lessor' s expense, repair such damage thus not Lessee' s trade
    Fixtures or Les e Owned                                Alterations and Utility Installations) as soon as reasonably possible and this lease shall continue In full bane and effect; provided, however, that Lessee
    shall, at                                                  lessor' s election, make the repalr of any damage or destruction the total cost to repair of which Is $           10,000or less, and, In such event, Lessor shall make
    any applicable insurance                               proceeds available to Lessee on a reasonable basis for that purpose. Notwithstanding the foregoing. If the requlred Insuance was not In
    fora or the                                          insurance proceeds are not sufficient to effect such repair, the Insuring Parry shall promptly Contribute the shortage in proceeds except as to the
         dedutdble which is Lotme smiponsh illty)as and when requited to complete said repairs. In the event, however,                                            such shortage was due to the fact that, by reason of
     the unlque msum of the Improvements, full replacement cost Insurance avenge was not commercially reasonable and avalable, esmr shall have no obligation to pay
     fa the shortage In Insurance protoeds or to fully restore the unique aspects of she Premises unless Lessee provides Lessor with the funds to cover same, of adequate assurence
     thereof, wlthlo 10 days following receipt of written nodce of such shortage and request therefor. If Lessor receives said funds or adequate assurance thereof within
     said 10 day period, the party responsible for making the repairs %               hall complete them as soon as reasons* possible and this Lease shot remain In full
     force and effect. If such funds of as urance are not received, Lessor may nevertheles elect by written notice to Lessee within 10 days theme her to:1)
                                                                                                                                                         ( make such
     restoration   and repair as Is commercial y reasonable with Lessor paying                          any shortage In proceeds, In which Can this                       tease shall amain In full force and effact, or( 0)
     hero this Lease terminate 30 days thereafter. Lessee shall not be entitled to reimbursement ofany funds contributed by Lessen to repair any such damage or destruction. Prembes Partial Damage
     due to flood or earthquake shall be subject to Paragraph 93,                                   notwithstanding that there maybe some Insurance sv.
                                                                                                                                                      e,but the net proceeds
                 any such Insurance shall be made available for the repairs If made by either Party. INITIALS 0 2019 AIR CRE. All

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                9. 3 Partial DO Mae*- Unlnaumd Lou, If s Premises Pastlal Damage that Is Wien Insured Loss occurs, unless caused by a neellgeAt ofwxlful act of Lessee lin
  which event Lessee shall make the repolts at Lessee' s expenseh lessor may either f) repair such storage as soon as reasonably possible at lessor' sexpnse, In which event
  tNs lease shall continue In full force and effect, or hl) terminate this lease by giving written notice to Lessee wlthln 30 days after receipt by lessor of knowledge of
  the occurrence of such damage, Such termination shall be effective B0 days fol owing the date of such notice. In the went Lessor elects to terminate this lease, Lessee
   shall have the right within 10 days after mcelpt of the termination notice to give written notice to Lessor of Las ae' s com it en to pay for the repair of such damage
   without reimbursement from Lester. Lessee shall provide lessor with said funds or eat shmo y as urance thereof wlthln 30 days after making such commitment.
   In such event this lease shag continue in full force and effect, and lessor shall proceed to make such repairs as soon as reasonably possible after the required
   funds are available. If les e does not make the required tommllment, this Lease shall terminate as of the date specified In the termination notice. 9.
                  4 Total Oeatructlon. Notwithstanding any other provision hereof,IF Premisas ToUl Destruction occurs,this Lease shall terminate 60daysfolluwing such Destruction.
   If                                   the damage or destruction was caused by the gross negligence or wil ful misfonduct of Lessee, Lessor shall have the tight to recover Lessor' s dam ges from
   Lessee, except                       as provided in Paragraph 8.
                                                                  6, 9.
                  5 Damage Near Mid Of Term. If at any time dudngihe last 6,months of this Lea le there Isdamage for which themst to repair exceeds one month' s Base Rent,
   whether or not an Insured Loss,lessor may terminate this Lease effective 60 days fol owing the dale of oc ur ence of such damage by giving a writ en lerminadon
   nonce to Lessee within 30 days after the date of oc ur ence of such damage, Notwithstanding the foregoing If Les e at that time has an exertl abie Option
   to extend this Lease or to purchase the Premises, then Lessee may preserve this tease by,a)  ( ex rcisng such option and flat providing Lessorwith any shortage In
   Insurance prOceess ( or adequate assurance thereof) needed to make the repairs on or before the earlier of I)
                                                                                                               (the date which h 10 days after Lessee' s re ipt of lessor'
   s writen notice purporting to terminate this lease, or fit)the day prior W the data upon whichsuch option explmh IS Les e duly exercises achdptien during such
   period and provides lessor with funds (oradequot s asurncethrofl to sever any shortageln Insurance pretends, Lessor shall, at lessor' swmmerclelty reasonable
   expense, repair such damage as soon as reasonaby possible and this lease shag continue in fug force and effect. If Les e falls toekerche such option and provide
   such funds or assu ante during such period, then this lease shall terminate on the date specified In the termination Peace and Lessee' s option shall he extinguished.
   9.
                      6 Abatement     of Rent; Lessee' s Remedies. al
              Abatement. In the event of Premises Partial Damage or Premises Total Destruction or a Haz rde Substance Condition for which lessee is not responsible
   under this Lease, the Rent payable by Lessee for the period required for the repair, remediation or restoration of such damage shall be abated in proportion
   to the degree to which lessee' s use of the Premises Is Impalred, but not to exceed the proceeds recaived from the Rental value Insurance. All other obll
   pitons of tested hereunder shall be performed by Lessee, and Lesser shall have no flabll' ny,for any such damage, destruction, remediation, repair or restoration except
   as provided herein. Ib)
          FamedIa%. if les or Is obligated to repair or restore the premises and does not commence, In a substantial and meaningful way,such repair or restoration
   within W days after such obligation shag accrue, Lessee my,at any time prior to the commencement of such repair or restoation, give written notice In Lessor
   and to any lenders of which Lessee has actual notice, of lessee' s el ction to tesraslnate this lease on a date not less than 60days following the gluing of such notice.
   N Les e gives such Police and such repair or ret erabon is not commenced within 30 days thereafter, this lease shall terminate as or the date specified In said notice.
   If the mpaIt or restoration Ismmmera; ed within such 30 days, this Loose shall continue In full force and affect, 'Commencer shall mean either the unconditional
   authorisation of the preparation of the requlmd plans, or the bsglnning of the actual work on the Premises, whichever first occurs. 9.
        7 Termination; Advance Payments. Upon terminadonaf this tease pursuant to Paragraph 6.          218) or Paragraph 9,    an equitable od)
                                                                                                                                               uamenl shall be made concerning
   advance ant Rent and any other advance payments made by lessee to Lessor, Lessor shall, In ad it on, return to lessee se much of Lessee' s Security Deposit
   as has not been, or Is not then required to be, used by Lessor. 10.

   Redproporty        taxes. 10.1
     OeflnlUam As used herein, the term ' Real Pro party Saxes" shall Include any Form of assessment; foal estate, general, special, ordinary or ext iordinary or rental levy
   or lax (other than inheritance, person at Income oreslate taxes);Improvement bond; and/or Iftenser fee Imposed upon or levied against any legal or equitable Interest
   of Lessor In the Premises or the Protect, Lessor' s right to other Income therefrom, and/ or                                              Lessor' s business of (easing, by any authority having the direct or
   indirect power tow and where the funds are generated with reference to the Building address. Real Property Takes shall she Include any tax,red, levy, as es ment or
   charge, of any increase therein: (1)        Imposed by reason of events occur ing during the term of this lease, Including but not IkMted to,4 change In the ownership of
   the Premises, and (A)        levied or assessed on machinery or equipment provided by Lessor to lessee pursuant to this Lease. 10. 2
                       Payment of Tues. In addition to Base Rent, Lome shell pay to lessor an amount equal to the Real Property To Installment due at least 20 days prry to the ap licable
   delinquency date.If any such Instal ment shall cover any period of time prior to or after the expiration or tern loation of this Lease, Leswe s share of such Instal ment
   shall be prorated. In the event Lessee Incurs a late charge on any Rent payment, Lessor may estimate the current Real Property Takes, and require that such
   taxes be paid In advance to Lester by Lessee monthly In advance with the payment of the Base Rent. Such room dy payments shall be an amount equal to the amount
   of the estimated Instal ment of taxes divided by the number of months remaloing Ware the month in which said Installment becomes delinquent. When the actual
   amount of the ap licable w bill Is known, the amount of such equal monthly advance payments shall be adjusted es rcqubad to provide the funds needed to pay
   the apidles ble lakes. it the amount colected by lessons lnsuf rdem to pay such Real Property Takes when due,Lessee shall pay Lessor, upon demand, such additional sum as
   Is necessary Advance payments maybe Intermingled with other moneys of Lessor and shall not bear Interest. In the event of aBreath by Lessee In the performance of
   Its obligations under this lease, then any such advance payments may be treated by Lessor as an additional Security Deposit 10.3 Joint
                       As es ment. if the Premises am not separately assessed, lessee' s liability shall be an equitable ideporaon of the Real Property Takes for all of the land and Improvements
   Intludad Wthlnthe ( air parcel assessed, such proportion to be conclustrely determined by Lesser from the respective valuations assigned In the assessor' s
   work sheets or such other information as may be reasonably avaliable. 10. 4 Personal
             Property Too, Lessee shall pay, prior to delinquency, all taxes assessed against and levied upon lessee owned Alterations, Utility Installations, Trade Fixtures, furnishings,
    equipment and all personal property of lessee. When possible, Lessee shall cause Its Lessee Owned Alterations and Utility Installations, Trade Fixtures, furnishings,
   equipment and all other personal property to be assessed and bil ed separa[ ey from the real property of lessor. If any of Les e ' s soIa property shal be
    assessed with Lessor' s real property, Les e shall pay, Lessor tha takes all studies ble to lessee' s property within 10 days after receipt of a written statement set ing forth
   the takes applkable to lessee' s property. 11,UNldetonservics. lessee

    shall              pay                                 for all water, Bass, heat, light, power, colophon e,trash disposal and other utilities and services supplied to the Premises, together with any
    takes lhoreon. If any such services are rest separately metered or billed to Lessee, lessee shall pay a reasonable proportion, to be determined by lesson, of all
    charges jointly metered or baled. There shall be                              rm abatement of rant and Lessor shall not be liable In any respect whatsoever for the Inadequacy, stoppage, Inter uption or
    diste ntfndinae or any utility, of service due to slot, strike, labor dispute, breakdown, accident, repair                            or            other      cause beyond Lessor' s reason able control
    or In cooperation with govern mental request of directions, OF fteen days

                 of                  Lessor' s writ en request, Les e agrees to   deliver to Lessor such information, documents and/ of     authorbatfon as Lessor needs In order for l INITIALS m
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   Lessor to comply with new or ealsting Appllcable Requirements relating to commercial building energy usage, ratings, and/ or the rapordng thereof.



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    13,



    Defaulu    Breachsftemedles, 13.
           1 Default; breach. A ' Dafault" Is defined as a failure by the Lessee to comply with or perform any of the terms, covenants, conditions or Rules and Regulations
     under this Lease. A' breach' Is defined as the occurrence of one or more of the fol owing Defaults, and the fallwe of Lessee to cure such Default within a
    ap al ble jam ope led. ITIALS




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              AIR CRE. All           Rights Reserved, Last                                                                           Edited: 2/25/ 20219: 53 AM STN-
      27, 30, Revised 11-25. 2019 Page                                                                                                                      9 of 16
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             aI The abandonment of the Premises; or thevecadnR of the Premisefwithoutpraalding a commercially reason able level of seturitm01 where the
  coverage of the property In sum nee described In Paragraph B31s leopard lied as A result thereof, or without providing reasonable Assurances to minimize potential
  vandalism.


                 b)            The failure of Losses to make any payment of Rent or any Secorlly Deposit required to be made by Lesseelismunder, whether to Lessor or to a third
  party, when due, to provide reasonable evidence of Insurance or surety bond, " to fulfill any obllgaton under this Leese which endangers or threatens life or
  property, where such failure continues lot a period of 3 business days fallowing written notice to lessee. THE ACCEPTANCE BY LESSOR OF A PAA11AL PAYMENT OF
  RENTOR SECURITY DEPOSIT SHALL NOTCONSHTUTE A WAIVER OF ANY OF LESSOR' S RIGHTS, INCLUOING LESSOR' S RIGHTTO RECOVER POSSESSION OF THE
  PREMISES,

              el The failure of lessee to allow lessor and/ or Its agents access to the Premises or the commission of waste, actor sets constituting public orpdvam
  nuisance, and/ or an Illegal octwgyon the Premisesby lessee, where, such actions continue lot a period of 3 business days following written notice totessee. In the
  event that Lessee commits waste, a nuisance or an Illegal activity a second time then, the Lessor may elect to treat such conduct as a non -curable Breach rather than a
  Default.

                 all           The failure by Lessee to provide 11) reasonable written evidence of compliance with Applicable Requiremousa,( IN the wNto conlncts,( III) the
  rescission of an unauthodted assignment or subietdnt, (b) an Estoppel Certificate or Financial statements, ( v1 a requested subordination, ( vl) evidence concerning any
  guaranty and/ or Guarantor, ( v1) any document requested tender Paragraph 42, ( vlli) matertal safete data sheets JMSOS), or( Ix) ant other documentation or
  Information which Lesor may reasonably require of Lessee under the terms of this tense, where any such fattest continues for a period of 10 days following written
  notice to Lessee.

              of A Default by lessee as w the terms, covenants, condidosn or provisions of this Lease, at of the rules adopted under Paragaph 40 hereof, other than
  those described In subparagraphs Lit 1( a1. Jb), it) or Jeff, above, where such Default continues for a period of 30 days after written notice; provided, however, that If
  the nature of Lessee' s Default Is such that more than 30 days are reasonably So culled for Its cure, then It shall not be deemed to be a breach If lessee commences
  such cure within said 30 day period and thereafter dingenllY Prosecutes such cure to completion.
              11 The occurrence ofany of the followingevents; ill the making of any general arrangement as assignment fat the benefit of cfecillon; ( if) becoming a
   debtor" as defined In 11 U. S. C. 4 101 or any successor statute thereto (unless, In the case of a petition filed agaimt lessee, the same Is dismissed within 60days); 011
  the Appel mment of a trustee or reolver to take possession of substamialh all of Lessee' s assets located at the Premises or of lessee' s Interest in this tease, where
  possession Is not restored to lessee within 30 days; W gv) the attachment, execution or other judicial selture of substantially all of lessee' s assets looted at the
  Premises or of Lessee' s Interest In this Lease, where such soviets Is not discharged within 30 days; provided, however, In the event that any provision of this
  subparaBfaph Is contrary to any applicable law, such provision shall be of no force or effect, and not affect the valleity of the tern  ing provloons.
                  A)           The discovery that any Roanclal statement oftessee or of any Guarantee given to lessor was materially false.
              hl If the performance of lessee's obligations under this Lease is guaranteed: ( 1) the death of a Guarantor, (II) the termination of a Guarantor's liability
  with respect to this Lease other than In accordance with the terms of such guaranty, (I a Guamissues becoming Insolvent or the subject of a bankruptcy gong, fall a
  Guarantor' s refusal to honor the guaranty, or Fir) a Guarantor' s breach of Its guaranty obligation on an anticipatory basis, and Lessee's failure, within 60 days following
  wfltten notice of any such own 4to provide written ahemative assurance or security, which, when coupled with the then existing re sources of lessen, equals or
  exceeds the combined He and at resources of Lessee and the Guarantors that existed at the time of execution of this lease,
       132 Remedies. If lessee falls to perform any of its aff rmaLive duties or obligations, within 10 days after written notice lot Incase of anemergency, without
   notice), lessor may, at Its under, perform such duty or obligation on lessee' s behalf, Including but not limited to the obtaining of reasonably required bonds,
   Insurance policies, orgovemmental              licenses, pemilts or ap rovals. Lessee   shall pay to Lessor an amount equal to 115%of   the costs and expenses Incurred by Lessor In
   such performan o upon receipt of an Invoka therefor. In the event of a Breach, Lessor may, with or without further notice or demand, and without limiting lessor In
   the exercise of any right a remedy which Lessor may have by reason of such Breach: a)
                   Terminate   lessee' s fight to pos es ion of the Premises by any lawful means, In which case this Lease shall terminate and lessee shall Immediately surrender
   possession to lessor. In such event Lessor shell be enUtled to recover from Lessee: (i)        the unpaid Rent which had been earned at the time of termination; II)
    the worth at the time of award of the amount by which the unpaid rent which would have been earned after termination until the time of aword exceeds the amount
   of such rental loss that the Losses proves could have been reasonably avoided; (111) the worth at the time of awaN of the amount by which the unpaid rem Por the
   balance of the term after the time of award exceeds the amount ofsuch rental loss that the lessee proves could be reasonably avoided;and t(v)any other amount necessary
   to compensate Lessor for all the detriment proximately caused by the lessee' s failure to perform Its obl gadons under this Lease or which In the ordinary course
   of things would be likely to result therefrom, Including            but not limited to the can of recovering possession of the premises, expenses of feleking, including note
   ssary renoodon and alteration of the Premises, reasonable attorneys' fees, antl that portion of any leasing commission paid by Lessor In con ection with this Least
   applicable to the unexpired term of this Lease. The worth at the time of award of the amount referred to In provison J110 of the Immediately preceding ismence
   shall be computed by discounting such amount at the discount fate of the Federal Reserve Bank of the District within which the promises are looted at the Imeof
   Award plus one percent. Efforts by Lessor to mitigate damages caused by Lesson' s Breach of this lease shall not walve lessor' s right to recover any damages to which
   tosser is otherwise entitled. If terminadon of this Lease Is obtained through the provislonaI remedy of unlawful detalner, Lessor shall have the right to recover In
   such proceedfnR any unpaid Rent and damages as are recoverable therein,or lessor may reserve the right to recover all or any Pitt thereof In a separ te suit,if a notice
   and grace period required undo Paragraph 131 was trot previously, given, a notice to pay rent or quit, or to perform or quit given to Lessee under the unlawful detainer
   statute shall abo constitute the notice required by Paragraph 13.1. In such Use, the applicable grace perfect required by Paragraph 13.1 and the unlawful data
   lost statute shall run conourfenth, aM the fa0ure of Lessee to are the Dahuil Within the greater of the two such grace periods shall constitute both an unlawful detainer
   and a Breach of this Lease entitling Lester to the remedies provided for In this Lease and/of, by said statute. lb)
                 Continue      the Lease and lessee' s fight to pos es ion and recover the Rent as It becomes due,In which event to&
                                                                                                                                   seemay sublet or assign, subject only to
   reasonable limitations. Acts of maintenance, efforts to relet and/ or the appointment of a racebre to protect the Lessot' s Inter st , shall Trot constitute a termination
   of the Lessee' s right to pos es ion, Id
                        Pursue any other remedy now or hereafter available under the laws orjudidal decisions of the state wherein the premises afe located. The expiration or
   termination of this Lease and/ or the termination of Lowe' sfight to pos es ion shall rot relieve lessee from liability under any Indemnity provisions of this Lease as
   to makers oauring or accruing during the term hereof car by reason of Lessee' s Ocupancy Of the Premises. 13.
             3 Inducem nt Recapture. Any agreement for tree or abated rent or other charges, the cost of tenant improvements for Lessee paid for or performed by Lesser,
   or for the giving or paying by Lester, to or lot Lessee of any cash ar other bonus, Inducement or consideration for Lessee' s entering Into this Lease, all of which concessions
   are forestal er referred to as "Inducement Provlslons," shall be deemed conditioned upon lessee' s fug and [althful performance of all of the terms, covenants
   and condlt om of this Lease. Upon Breach of this Lease by Lessee, any such inducement Provision shall automatically be deemed deleted from thletease and
   of no further force or effect and any runs, other charge, bonus, Inducement or consideration theretofore abated,given or paid by lessor under such an d
     mom     ProytOon shall be Immediately due and payable by lessee to lessor, notwithstanding any subsequent cure of said Breach by Lessee. Theacteptancgby       INITIALS



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   CRE. ARRights                   Reserved. Last                                                                                                 Edited: 2/25/ 202 1 9: S3 ANA 5TN.
   27. 30, Revised 11-
                     25- 200 Page                                                                                                                                      10 of 16
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   Lessor of renter the cure of the areach which Init sled the operation of thh paragraph shall not be deemed a water by tensor of the Provisions of this paragraph
   unless specifically so stated In writing by Lessor at the time of such acceptance.
                    13. 4 Lam Charges, lessee hereby acknowledges that late payment by lessee of Rent will cause Lessor to Incur tasks not contemplated by this lease, the exact
    amount of which will be extremely difficult to ascertain. Such costs Include, but aranat limited to, processing and accounting charges, and late charges which maybe
    Imposed upon Lester by any tender. Accordingly. a any Rent shall net be received by Lessorwithin5 daysafto, suchans untshah be due, then, without any
   requirement for nonce to Lessee, Leaeeshall Immediately pay to lessor a One- time late charge equal to 10% of each such merdue mount or S100, whlchever h
   great¢(. The Ponies hereby agree that such late charge represents a fair and reasonable estimate of the costs Lessorwill incur by reason of such bra payment.
   Acceptance of such ate charge bylessor shallIn no event mnstilute a waiver of Lomas Dafauh m Breach wfth respectto such overdue amount, nor prevent the exercise
    of any of the other rights and remedies Emoted hereunder. adwnw.

   13.


        5 Intea t. Any monetary payment due Lessor hereunder, other than late charges, not received by Lamr, when due shall bear Interest from the 31stday after
    It was due,The Interest ('nterest') charged shall be computed at the rate of 10%per annum but shall not exceed the maximum rate allowed bylaw.Interest is Payable
    In addition to the polential late charge provided for In pamlimph 23.4.r                              13.



      6 Basch by Lester. a)
                          Noticeofireah.   lessmshall not be deemed In breach ofthh Leaseunlem Lessor falhwlthin a reasonable time to perform an obligation required to be
    performed by lessor.For purposes ofthis Paragraph, a reasonable time shall in no event be less than 30 days otter mceapt by lessor, and any Lender whose name and
    address shall have been furnished to les ee In writ ng for such purpose, of writ en notice speciryingwherein such obligation of Lessor has not been performed; provided,
    however, that It thenatureor Lessor' s obligation Is such that more than 30 days are reasonably required for As performance, then lessor shell not be In breach If
    performance is commenced within such 30 day pored and thereafter dingwglypursued to completion. b)Pedamtanm
                          by Lessee on Behalf oflessor. In the event that neither Lessor nor tender cures said breach within 30 days after atelier of sold notice, or If
    having com enced said cum they do not diligently pursue It to completion, then Lessee may elect to cure said breach at lessee' s expense and offset from Rent We actual
    and reasonable cast to perform stub am,provided, however, that such offset shall not exceed an amount equal to the greater of one month' s Base Rent at the Security
    Deposlt, reserving Lessee' s detain se k reimbursement from Lessor                    for amysuch expense in excssof such offset. Lesseeshall document   the cost of said cure and
    supply sold documentation to lessor.14. Condemnation.

    If the Premises or any portion thereof are taken under the power of eminent domain or sold under thethmot of the exercise of said power collectively" Condemnation"),
       this Lean shalitermhnate as to the part taken as of the date the wo demni geuthorityakes intent possession, whichever first otcun. If more
    than 10%                     of the Binding, notable than 25%
                                                                of that pardon of the Pre alsesnot occupied byany building, bookeo byCandemnation, Lessee may, at Lessee' s option, to
    beexafclnd Inwdtingwlthln 10d3ys after lessor shall have given Lessee written noticeof such eking (at In the absence of such rossre,wlthla 10 days after the
    condemningauthorily, shallhave taken possession) terminate this Lean mofthe date the condemning authodtytakes such possession. If lessee does not terminamthhs Leasein
    accordance Whitton foregrengrthis Lease shah                                 remain In full forceand ogemas to the portion of the Paral ax remainlMo rcept that the                nose Reptilian be
    reduced in proportion to the reduction In utility of the Premises caused by such Condemnation. Condemnation awards and/
                                                                                                                          or payments shall be the property of
    lessor,whether such award shall be made ascompensadon of diminution In value of the leasehold, the wiueof the pan able, or for severance damages; provided,
    however, that Lessee almost endtiedto arc/eampensatfon paid bythe condemnorfor lessee' s ablation exp nse , tassel busloessgoodwil and/of
    Trade Refusal, without regard towhelher or not this lease Is terminated pursuant to the provbionsof this pemgreph. ARAlterationtand Utigty installadare madeto the
    Premises by lessee, o( r purposes of Condemnation only, shall beconsNered the property of the Lessee and Lessee shall be entitled tc any and all compensation which [&
    payable theater.                             In the went that this Lease knot terminated by assonant she Condemnation, Lessor: hall             repair any damage to the Premises caused
    by such Condemnation. agaloW It.




                                             Estoppel



    Certificates.   a)
                     Each

                         Party Jos °RapoMing Party") shall within 10 days after written notice from the other Party (the "Requesting party,) execute, acknowledge and deliver to
    the Requesting Party a statement in writing In form similar to the then most cram "Estoppel Cerdncate" form published BY AIR CRE, plus such addIt emal information, cnfirmation
    and/or statements as may be reasonably requested by the Requesting Party. Ill the                                     [(
                         Responding Party shall fall to execute of deliver the Estoppel Certificate within such 10 day period, the Requesting Party may execute an Estoppel CarlBcate
     statingthai: (it the                             Lease Is In ful fora and effect without modification except as may be represented by the Requesting Party. 00 there are no uncured defaults
     In the Requesting Party' sperermance, and (IIg if lessor Islhe Requesting Party, not tame than one months rent hasbeen paid In advance. Prospective purchasers
     and encu atomacen may rely upon the Requesting Party' s Estoppel Certifcate, and the Responding Party shall no ¢                                            stopped from denying the truth of
    thefacts contained In said Cortifcate. In addition, Lessee acknowledges that anytalhum an Its part to provide such an Estoppel Cenmcalewil expose lessor tqL 60A
     and potendally muse Lessor to mar costs not contempbted by this Lease, the extent of which will be extremely dif icult to ascunaim Ac ardingH should the YV INITIALS

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        CRE,All Rights Reserved. Last Edited:                                                                                                                2/
                                                                                                                                                              25/20219: 53 AM 5TN- 27,
       30, Revised 11. 25-2019 Page 11                                                                                                                                             at 16
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   Lessee fall tone Cute and/ or dellver a requested Estoppel certificate In a timely fashion[ Lessee shall pay to Lessor R fee of $50p4hnmoothb,.
                                                                The Parties agrue that such Increase In Base Rent represents fair and reasomb a compensation for the additional
   rlsk/ costs that Lessor will Incur by reason of lesseeb failure to provide the Estoppel Certificate, Such Indease In Base Rentshall In no event onsfltute a waiver of
   Lessee' s Default or Breach Will respect to the failure to provide the Estoppel caul cate nor prevent theeserclseof any of the other rights and remedies granted
   heremilef.

                        e)     If Lessor desires to finance, refinance, or sell the Promises, or any pail thereof, Lessee and all Guarantors shall wlthinl0 days after written notice
   from Lessor deliver to any timendei lender or purchaser designated by Lessor Such gmAclal statements as maybe reasonably required by such lender or purchaser,
   Including but not limited to Lossee's financal statementsfor the part 3 years. NI such financial statements shall be received by lessor and such tender or purchaser In confidence
   and shall be used only for the purposes herein set forth. 17.

   Definit on     of lessor. The term "Lessor" as used Imeln shall mean the owner or owners at the time In question of the log title to the Premises, or,if this is sublease,
   of the Lessee' s Inter st In the prior lease. In the event of a transfer of Lessor' s title or Interest In the Premises or this Lease, Lessor shall deliver to the transferee
   or as igne ( In cash or by credit) any unused Security Deposit held by Lessor. Upon such transfer or as ignment and delivery of the Security Deposit, as aforesald,
   the prior Lessor shall be rel ine d of all liability with respect to the obligations andfor covenants under this tease thereafter to be performed by the Lessor. Subject
   to the foregoing, the obligations and/or covenants In this lease to be performed by the Lessor shall he binding only upon the Lessor as heralnabo er defined. 18,

   Sentabli ty.   The invalldhyot any provision of this tease, as determined by a wort of competent jurisdiction, shall in no way affect the validity of any other provldon
   hereof. 19.

   Days.          Unless otherwise specifically Indicated to the contrary, the word`days" as used In this Lease shall mean and refer to calendar days. 20,

   limitation on stability, The oblgations oflessor under this Lease shag not constitute personal obligations of lessors orlts partners, members, directors, officers or
   shareholders, and Lessee shall look to the Premises, and to no other assets of Lessor, for the sadshction of any liability of Lessor with respect to this Lease, and shall
   not well recourse agalnstLessor' s partners, members, directors, officers or shareholders, or arty of their personal ossetdor such sattsfecdon. 21,

   Time           of Essence. Time is of the essence with respect to the performance of all obligations to be performed or observed by the parties under this Lease. 22.
    NO            Prior or Other Agreements; Broker Ortdalmor. This      Lease Contains a 11 agre ments between the Parties with rgspett to any matter mentioned herein, and no other
   prior or contemporaneous agreement           or understanding Shall         be effective. Lessor          and Lessee tochrepresents and   warrants to the Brokers that it has me do, and Is
   relying solely upon, Its own Investigation as to the nature, quality, character and financial responsibility of the other Party to this lease and as to the use, nature, quality
   and character of the Premises. Brokers have no responsibil ty with respect thereto or with respect to any default or breach hereof by either Mrty.33._
   NotWa.         re




                                                                                        raoWodbylAalostoa.



     14.



      Walsom      a)

                         No    walvorby Lessor of the Default or Breach of any term, covenant orcondlnon hereof by Lessee, shall be deemed a walver of any other term, covenant
     or condit on hereof, or of any subsequent Default or Breach by lessee of the some or of any other term, Covenant or condlgon hereof. Lessor' s consent to,Of
     ap roval of any act shall net bedeemes to render unnecessary the obtaining of Lessor' s consent 10,or ap roval of,
                                                                                                                      any subsequent or similar act by Lessee, of be construed
     as the basis of an esoppel to enforce the provision orprovlBom of this Lease requiring such consent. b)
                         The   acceptance of Rent by lessor shall not Be a waver of any Default or Breach by Lessee. Any payment by Lessee may be accepted by lessor on account
      of moolm or damages due Lessor, notwithstanding any qualifying statements or condit ons made by Lessee In con ection therewith, whlchmch statements and/
      or condit ons shall be of no force or effect whatsoever unless spodfially agreedto In writing by Lessor at or before the Ha l deposit of such payment c)
                                                                                                                                                             THE
          PARTIES AGREE 714AT THE TERMS OF THIS LEASE SHALLGOVERN WITH REGARD TO ALL MATTERS RELATED THERETO AND HEREBY WANE THE PROVISIONS OF
      ANY PRESENT OR FUTURE STATUTE TO THE EXTENT THAT SUCH STATUTE 15 INCONSISTENT WITH THIS LEASE. JV INITIALS/'




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         CAE.All Rights            Reserved. Last Edited:                                                                                               2125/ 20219: 58AM SIN- 27.
         30, Revised 11. 25-
                           2019 Page 12                                                                                                                                      of IG
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    26. No Right To Holdover. Lessee has an right to retain possession of the Premises or any part thereof beyond the exphationor termhadon of this Lease. In the
    event that Lessee holds over then the Base Rent shall be Increased to 1SOX of the Base Rent applicable Immedlatelyprecedlog        the expiration"     termination.
    Holdover Base Rent shall be calculated on monthly basis. Nothing contalnedheminshall be construed as conseMby Lessor t0 amyholdingover by Lessee.
    27.    Cumulallva Remadlns. Nommedy or eletttoo hereunder shall be deemed exclusive but shall, wherever poshle, bacumulallve with all ether remedles at low or
    in equity.

    28.    Coven ants and CondlNom; CnnstrucdonOfAgmernmL            All provisions or this Lease to be observed or performed by Leum are both covenantsand conditions.
    In construing this lease, all headings and titles are for the convenience of the Parties only and shall not he considered a part of this Least. Wherever required by the
    context, the singularshall Include the plural and vice vena, This Lease shall not he construed as if prepared by one of the Parties, but rather according to Its fair
    meaning as a whole, as if both Parties had prepared it.

    29. Binding Effect; Choice of law. this lease shall be binding upon the Parties, their personal representatives, successon and assigns and be governed by the laws
    of the State In which the Premises are located. Any 11092flm between the Parties hereto concerning this Lease shall be Initialod In the countyin which the Premises
    are located. Signatures to this Lease accomplished by meant of electronic signature a similartechnology shall be legal and binding.
      G.   Subordination;   Attommenh    Nan• Dlsturbance.

           30. 1 Subordination. This Lease and any Option granted hereby shall be sub)ect and subordinate to any ground lease, mortgage, deed of trost, or other
    hyputhoeanon or security device ( tollectiveaa " Security Device"), now Or hereeh6r placed upon the Premises, to any and all advances made on the sOcurlrythereof,
    and to all renewals, modifications, and extensions thereof. lessee agrees that the holders of any such Security Devices ( It this Lease together referred to as " Lander")
    shall have no IIa6Rlty or obligation to perform any of the obtlgallms of Lessor under this lease. Any tendermay elect to have this Lease and/ or any Option granted
    hereby superior to the lien of its Security Device by glving written notice thereof to lessee, whereupon this lease and such Options shall be deemed prlor to such
    Security Device, notwithstanding the relative dates of the documentation orrecordahon thereat
          30. 2 Adornment. In the event that lessor lranden title to the Premhes, arthe Premises are acquired by another upon the foreclosure or termlonce of a
    Security Device to which this Lease Is subordinated ( 1) lessee shall, subjtcl to the am -disturbance provisions of Paragraph 30. 3, attain to such new owner, and upon
    request, enter Into a new lease, contaiaing all of the terms and provisions of ( his lease, with such new owner for the remainder of theteun hereof, or, at the election
    of the new owner this teesewill automatically become anew lease between lessee and such new Owner, and ( 1l) Lessor shall thereafter be colleted of any further
    obligations hereunder and such newcomer shall assume all of lessor' s obligations, except that such new owner shall"": (       a) he liable forany an or omission of any
    prior lessor orWth respect to events occurring prior to acquisition of ownership; Rol be subject to any o@sets or defenses which Lesseemlght haveagalnct any print
    lessor, ( c) be bound by prepayment of more than one month' s rent, or fd) be liable for the return of arrysecurliydeposit paid to any prior estor which was not paid or
    credited to such new     owner.
          303 Non- Dltturbanu, With respect to Security Devices entered Into by Lessor after the execution of this Lease, Lessee' s subordination of this Lease shall be
    subject to mcelving a commercially reasonable non -disturbance agreement ( a " Non- tisturbance Agreement" I from the lender which Non -Disturbance Agreement
    provides that Lessee' s possession of the Premises, and this Lease, Including any options to extend the term hereof, will not be dlsturbed $o long as Lessee Is not in
    Breach hereof and Bharat to the record owner of the Promise a. Further, within EO days after the execution of this Lease, Lessor shelf, It requested by lessee, use Its
    commerclally reasonable efforts obtain a Nm-Disturbance Agreement from the holder of any pre-exisdoe Security Device which Is secured by the Premises, in the
    event that Lessur Is unable to provide the Non -Disturbance Agreement wltNn said 60 dayl, then Lessee may, at Lessee' s option, directly contact Lender end attempt
    to negodale for the execution and delivery of a Non- Dlsturbance agreement.
           30A Self -Exec this. The agreements contained In this Paragraph 30 shall be effective without the execution of any further documents; provided, however, that,
    upon written request front Lessor or a Lander In connection with a sale, ftnandr if or refinancing of the Premhes, Lasses and Lessor shall execute such further wrimits
    as may be teasonably required to separately document any subordination, attomment and/ or Non -Disturbance Agreement provided for herein.

    31.    Attorneys' Fees, It any Party or Broker brings an action or proceeding Involving the Premises whether founded In tort, Contract Of equity, or to declare rights
     hgreu Ner, the Pravailing Party ( as hereafter defined) In any such proteeding action, or appeal thereon, shall be entitled to reasonable attorneys' fees. Such fees may
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     Revised 11- 25. 2019 Page 13 of                                                                                                                            16
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   be awarded In the some suitor recovered Ina separate sull, whether or not such action or proceeding Is pursued to decision or judgment. The term, "Prevailing
   Party" shall Include, without lInshatlon, a Party watcher who substantially obtains or defeats the rellef sought, as"                        case maybe, whether by compromise,
   settlement, judgment, of the abandonment by the other Party or Broker of Its claim ar defense. The attorneysfees award shall not be computed in ac ordance with any
   court fee schedule, but shall be such as to fully relreburse all at orneys' fees reasonably Incurred. Inaddleon, Lessor shall be entitled to at orneys' fees, costs and expenses
   Incurred In the prepare don and service of notices of Default and consultations in con ection therewith, whether or not a legal action Is subsequently commenced
   In con ecnon with such Des uIt or resulting Breech f$
                                                       20 1s a reasonable minimum per occumence for such services and consultation). 32,
   Letoes       Access; Showing Pro misos; Repairs. Lessor and lessor' s agents shall havethe right to enter the Premises at any time, in the Wm of an emergency,and otherwise at
   reasonable times after reasonable prior notice for the purpose of showing the same to prospective purchasers, lenders, or tenants, and making such allemtiom, so
   pain, Improvement or addidons to the Premises as Lessor may deem necessary or desirable and the erecting, using and mebintalning of udlldes, services, pipes
   and conduits through the Premises and/ or other premises as long as there Is no material adverse effect on Lessee' s use of the Premises. All such                                      activities shall
   be without abatement of rent or Ilabillty to lessee. 33. Auctions,

   Lessee shall not conduct, nor permit to be conducted, any auction upon the Premises without Lessor' s prior writen cement. Lesmf shall not be ebllgated to
   exercise any standard of reasonableness In determining whether to permit an auction. 34. Signs.

   Lessor may place on the Premises ordinary ' For Sale" signs at any time and ordinary" For Law' signs during the last 6 months of the term hereof. Except for ordinary "
   for sublease" signs, Lessee shell not place any sign upon the Premises without lessor' s prior writen consent. All signs muss comply with all Applicable Requirements, 35,
   nomination;


   Merger.      UMass spedfically stated other wise In writing by lessor, the voluntary or other sur ender of this Lease by Lessee, the mutual terminators or cancellation
   hereof, or a termination her of by Lessor for Breach by Lessee, shall automatical yterminate any sublease or lesser estate In the Premises; provided, however, that
   Lessor may elect to continue any one or all existing subtenancles. Letter' s failure within 10 days fol owing any such event to elect to the contrary by wdden notice
   to the holder of any such lesser Interest, shall constitute Lessor' s election to have such event constitute the termination of such interest. 36. Consents,

   All requests for consent shall be in writing. Except as otherwise provided hemtn,wherever to this tease the consent of a Party is required to an act by or for
   the other Party, such consent shs11 not be unreasonably withhold or delayed. Lessor' s actual reasonable costs and expanses ( Including but not limited to ambience, at orneys',
   engineers' and other consultente fees) incurred In the consideration of, as response to, a request by lessee fat any lessor consent, Including but not
   limited to consents to in as ignment, a sobletling or the presence or use of a Ras rdousSubstance, shall be paid by lessee upon receipt of an Invoice and supporting documentation
   therefor,Lessor' scoment to any act, assignment or subletting sisal not constitute an acknowledgment thatno Default or Breach by Lessee of this
   Lease exists, nor shall such consent be deemed a walver of any then existing Default or Breach, except as maybe otherwise spedgcally stated inwrmng by Lessor at
   the home of such consent. The (allure           to specify herein any particular condition totaste r'
                                                                                                       s consent shal not preclude the imposition by Lessor at the done of consent of such
   further or other conditions as are then reasonable with reference to the particular mane, for which consent Is being8lvao. In the event that either Party also gmes
   with any determination made by the other lut ounder and reasonably requests the reasons for such determination, the determining party small furnish Its B,atons In
   writing and In reasonabe detail within 10 business days fol owing such request. 37.Guarantor. 37.
    1           Execution.

                The Guar ntors, If    any, shall each execute a guaranty In the form most recently published BY AIR CAE, and each such Guarantor shall have the same obligations as
    lessee under this Lease. 7.
                              2 Default

                 It shal constitute a Otto Ott of the Lessee if 0MyGeometer falls or reforms, upon request to provide: (a)
                                                                                                                         s videnae                  of the exetudon of the guaranty, Including the authority
    of the party signing on Guarantor' s behalf to obligate Guarantor, and In the use of a corporate Guarantor, a certified copy of a resolution of its board of directors
    authorizing the making of such guaranty, (b) current financial staements,( c)
                                                                                an estoppel CeB cate, or (d)
                                                                                                           written confirmation that the guaranty is still In ef ect.
    3a, quiet Postesslon.


    Subject to payment by Lessee of the Rent and performance of all of the covenants, condit ons and provisions on Lessee' s part to be observed and performed under
    this Lease, Lessee shall ITawquiet possession and qulet enjoyment of the Premises during the term hereof, 39. Opttom. It
    Lessee      Is          granted any Option, asdelined below, then the following provisions shall apply. 39.1 Definition. "
        Option" shal mean: ( a)       the right to extend or reduce the term of or renew this Lease or to extend at reduce the term of or renew any lease that lessee has
    on other property of Lessor, t
                                 ( ill the right of flat refusal or first offer to IOW either the Peembes or other property of Lessor, fc)
                                                                                                                                         the right to purchase, the right of
    first offer to purchase or the right of first refusal to purchase the Promises or other property of Lessot. 29.2 Options
            Personal To Orlglnal Lessee. Any Option granted to lessee In this lease Is personal to the original Lessee, and cement be assigned of exorcised by anyone other then
    Bald orlglnet Lessee and Only while the original Lessee is In full pos es ion of the Premises and, If requested by Les or, with lessen tent ying Ihnt Lessee has no
    Intendon of thereanet assigning or subletting. 39.3 Multiple
                Options. In the event that lessee has any multiple Options to extend or renew this tea",a later Option                    on not be exercised unless the prior Options have been
    validly exercised. 39.4 Effect
                of Default on Options. a)
                                        Lessee shall

                have no right to exercise an Option; 11)clwas the period commencing with the giving of any notice of Default and Conti until said Default is cured, (
    III during the period of time any Rent Is unpaid (without legend to whether notice thereof Is given Lessee),011( during the time Lessee Is In Breach of this lease, or
    IN)In the event that Lessee has been given 3 or mare notices of separate Default, whether or not the Defaults are cared, during the 22 month period Immediately preceding the
    exercise of the Option. b)The period
                       of Into within which an Option maybe exercised shall not be extended or enlarged by reason of Lessee' s Inability to emrdse an Option oeraute of the
    provisions of Pamgroph 39.           4(e).       c)An Option
                       shah terminate and beef no further force or offers, notwithstanding Lessee' s dueand timely ex rcise of the Option, If,after such exercise and prior to
    the commencement of the extended term orcomplodon either purchase, (1)                   Lessee fallsto pay Rent for a period of 30 days after such Rent becomes due without any necessity
      of Lessor to give notice themol), or B
                                           ( )
                                             if                         lessee com its a Breach of this lease. 40, Multiple Buildings.

    Iftlte      Promises are             apart of a groupof buldingscontroled by Lessor, Lessee                agrees that It will abide byroad conform to all reasonable rules and regulations which
    Lessor maymake from time to Time for the management, solely, and rare                                ofsald properties, Including the rare and cleanliness of the grounds and Including the
    parking, loading and unloading of vehicles, and to cause Its employe s, suppliers, shippers, customers, tootfactors and luvilees to m abide and Wgysfafal , Lessee also
                      to pay Its fair share of common expenses Incurred in connection with such rules and regulations. IfNITIALS RL 2019AIR

    agrees
      CRE.

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      Revised    11- 25- 2019         Page 14 of                                                                                                                                       16
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   41. security MOO$ Jra, Lessee hereby acknowledges that the gent payable to lessor hereunder does not Include the cost ofRuard service or other security
    measures, and that Lester shall have no obligation whatsoever to provide same, lessee assumes all responslblllty far the protection of the Premises, Lessee, Its
    agents and Invitees and lhelr property from the acts of third parties.

    42. Reservations. Lessor reserves to Itself the right, from tlme to time, to granLwlthout the consent of joinder Of Lessee, such easements, rights and dedications
    that Lessor deems necessary, and to cause the recordation Of parcel maps and restrictlons, to long as such easements, rlghU, dedications, maps and mSUlotiont do
    not unreasonably Interfere with the use of the Premises by Lessee. Lessee agrees to sign any documents materiality requested by Lester to elfeduate any such
    easement rights, dedication, map orrestrlctiom.

    43. Performance Under Protect. If at any Ume a dispute shall arise as to any amount or turn of money to be paid by one Patty to the other under the provisions
    hereof, the Parry against whom the obligation to pay the money U asserted shall havethe right to make payment " under protest" and such payment shall not be
    regarded as a voluntary payment and there shall survive the right on the part of sold Party to immure suit for recovery Or such sum. If It shah be adjudged that there
    was no legal Obligation on the part of said Party to pay such sum or any part thereof, said Party shall be entitled to recover such sum or so much thereof as It was not
    legally required to pay A Patty who does not Initiate suit for the recovery of turns paid" under Protest' within 6 months shall be deemed to he" welved its right to
    protest such payment.

    44.                  Authority; Multiple Patties; Execution.
                               a)        If either Patty hereto Is a corporation, trust, limited llahlllty, Company, partnership. or simflar entity, each Individual executing this Lease on behalf of
    such entity lefeeSents and warrants that he orshe lsduly authorized to execute and deliver this Leese on its behalf. Each Party shall, within 30days after request
    detest to the other Party satisfactory evidence of such authority.
                              fill       If this Lease is executed by more than one person or entity as' Lesue", each such person or entity shall be Jointly and severalty liable hereunder His
    agreed that anyone othhe named Lessees shall beempowered to execute any amendment to this Lease, or other document ancil arythereto and bind an of the named
    Lessen, and Lessor may mlyon the same as IF all of the named Lessees had executed such document. c)
                This Lease maybe executed by the Parties in counterparts, each of which shall be deemed an original and all of which together shall constitute one and
    the some Instrument. 45.


    Conflict.            Any            conflict between the printed provisions of this lease and the typewrit en or handwridenprovhlons shall               becomrol ed bylhetypevvil or              handwrit en
    pralsions. I                                                                                                                                              46.



    Offer.               Preparation of ihU Lease by either Panyor their agent and submisslon of same to the other Party shall not be deemed an offer to lease to the other Party.
    This lease Is not Intended to                          be binding until executed and delivered by all Padles hereto. 47,

    Amendments. This Lea se may be modified only In wrldng, signed by the Parties In Interest at the Ume of the modification. As long as they do not material y change
    Lessee' s obligatons hereunder. lessee agrees to make such reasonable non monet
                                                                               -ary modlllcationsto this Lease as may be reasonably required by a Lender in
    con ection with the obtaining of normal financing or reflnoncing of the Premises. 48.

    Waiver               efluryTdol. THE PARTIES HEREBY WANE THEIR RESPECTIVE RIGHTSTO TRIAL BY JURY IN ANY ACTION OR PROCEEDING INVOLVING THE PROPERTY OR
    ARISING OUT OF THIS AGREEMENT. 49.



    Ato
     rbitration of           Disputes. An Ad endum requiring the Arbitration of all disputes between the Parties and/or Broken arising out of this lease ID is 2 Is not attached
                 this Lease. 0.

          Atces ibnty;   Americans          with blsablgthasAct, a)
                               The        Premises: 12

       have not undergone an inspection by a CoMfied AccessSpecialist ICASP).Note: A Certifed Accest SPeciaust (CASp)con Inspect the subject premises and determine
     whether the subject premises comply with all of the applicable eonjtruedon- mlated accesslbglty standards under state law. Although state law does not require
     a CASp Inspection of the subject premises, the Commercial property owner or lessor may not prohibit the lessee or tenant from obtaining a CASp Inspection of the
     subject premises for the Occupancy or potential occupancy of the lessee or tenant, It requested bythe lessee or tenant. The pestles shall mutually agree on the ar angements
     for the time and manner of the CASp Inspection, the pawn ent of the fee for the CASp Inspection, and the Cost of making any repairs necessary to correct
     violations of construction - related accesslhllity standards within the premises. have
                         und ergone, an Inspection by a Certifed Access Specialist ( CASp) and it was determined that the Premises met all ap licable construction - related           accessibility
     standards pursuant to California Cell Code§55. 51 at seq. Lessee acknowledges that It received a copy of the inspection report at least 48 boon pilot to exe tudngthis
     Lease                              and agrees to keep such report Confidential, 0

        have undergone an Impaction by a Certifed Access Specialist (CASIP) and It was detemslntd that the Premises did not meet all ap licable construcdamrelated a
     cusib01ysUndars pursuantto Callromla Civil Code §55. Stetset. Lessee acknowledges that It received a copy of the Inspection report at least 48 hours prior to exetutm$
     this lease and agrees to keep such report Confidential except as neces ary to complete repairs and Corrections of violations of construction related accesilbillly,
     standards. In

     the eveatthat the Premises have been Issued an Inspection report by a CASpthe Lessor shall provide a copy of the disability access inspection certificate to lessee wlthln
     7 days of the execution of this lease. b)

                                Since     compliance with the Americans with Disabilities Act(ADA) and        other state and local accessibility statutes   are dependent upon Lessee' sspecific use
     of Me premises, Lester makes no war antyor representation as to whether or net the PremisescomptV with ADA or anyslmgarlegislation, mtheeventihal Lessee'
     s use of the Premises regoiles modifications or additions to the PlemisesIn order to be incompliance with ADA or other accessibl ltystatutes, Lessee agrees to make
       arq such necessary modifications and/or additions at Lessee' s expense. LESSOR

       AND LESSEEHAVE CAREFULLY READAND REVIEW EDTHIS LEASEANO EACH TERM AND PROVISION CONTAINED HEREIN, AND BY THE EXECUTION OF THIS LEASE
       SHOW THEIR INFORMED AND VOLUNTARYCONSENT THERETO. THE PARTIES HEREBY AGREE THAT ATTHE TIMETHIS LEASE 15 EXECUTED, THE TERMS OF THIS
       LEASE ARECOMMERCIALLY REASONABLE AND EFFECTUATE THE INTENT AND PURPOSE OF LESSOR AND LESSEEWITH RESPECTTOTHE PREMISES. ENTION:

                         NO             REPRESENTATION OR RECOM ENDATION IS MADE BY AIR CAE OR BY ANY BROKERAS TO THE LEGAL SUFFICIENCY, LEGAL EFFECT ORTAX WP

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         2019AIR CRE. All                    Rights Reserved. Last                                                                                                  Edited: 2/25/ 20219: 53AM          STN•

        27. 30, Revised                 11-25. 2019 Page                                                                                                                                15 of 16
Case 8:22-cv-00433-DOC-JDE Document 1 Filed 03/21/22 Page 26 of 67 Page ID #:26




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    2, RMINAPPROPRIATRCONSULTANTSYOAEVIEWANDHIVtUIGATilHECOf4DMONOPTNNPREMISES, SA101NVESTIOATION$ 11MA401CWDB BUT NOT at
    LIMITIOTO: INS POLSIBLB PRENRICtOPRA: ARDOOS SUDSTANCIS, THE ZONING OF THE PASMISES, THt BTRUCTURALINTEORITV, TNT CONDITION OF THE ROOT
    AND OPERATING $ MIMS, AND THE SUUAOROV OF THE PREMISES FOR LESSIrS INTENDED USE.

    WARNINOt IFTHE PREMISESAR! LOCATED INA SMEOTHER THANCAUFORNIA, CIRT•AIN PROVISIONSOF THE LEASDMAY NEROTO BE REUMD70 COMPLY WITH
    THitAW$ OFTHE STATE IN WHICH THE PREMISES ARE LOCATED.

    The Pantos hereto have eaataled this tease at the pleated on the dates touched aArwe their respoetPnNgmlumS.
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    On:                                                                            On:.

    By Les                                                                          BVtoism

                                                                                     THE CITY, OF SANTA ANA

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                                           A- 2021- 028
                                 Lessee City of Santa Ana Signature Page to:

                                                Addendum to
                         Standard Industrial/ Commercial    Single -Tenant Lease — Net

                                 For Certain Premises Commonly Known as
                               1815 East Carnegie,   Santa Ana, California   92705
                                                March 1, 2021




     CITY OF SANTA ANA:                                           ATTEST:



                                                                                     u
     Kristine Ridge                                               Daisy Gomez
     City Manager                                                 Clerk of the Council




     APPROVED         AS TO FORM:                                 RECOMMENDED            FOR APPROVAL:
     Sonia R. Carvalho

     City4ttorney
           I i
     Ryan O Hodge                                                 Steven Mendoza

     Assistant City Attorney                                      Executive Director

                                                                  Community Development Agency
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                                                           ADDENDUM        TO
                            STANDARD INDUSTRIALICOMMERCIAL SINGLE -TENANT LEASE -NET
                                     FOR CERTAIN PREMISES COMMONLY KNOWN AS
                                   1815 EAST CARNEGIE, SANTA ANA, CALIFORNIA 92705
                                                            MARCH 1, 2021


                   This Addendum ( this " Addendum") is being executed concurrently with and is made a part of that
         certain lease titled " Standard Industrial/ Commercial Single -Tenant -Net" dated March I, 2021 ( the " Form
         Lease") by and between Dyer 19, LLC (" Lessor") and The City of Santa Ana (" Lessee" and sometimes
         herein the " City") and this Addendum shall control in the event of any inconsistency with the provisions of
         such Form Lease. The Section and Paragraph Numbers of this Addendum are now added Sections and
         Paragraphs to the Form Lease. As used herein, the " Lease" shall mean the Form Lease as supplemented
         and amended by this Addendum. Unless otherwise defined in this Addendum, any defined word contained
         in this Addendum has the some meaning as it is defined in the Form Lease.
         51.           Intentionally Omitted.

         52.           Rent Comma c0 amen . Notwithstanding anything to the contrary set forth in this Lease, Base Rent
                       shall commence, and the first monthly payment of Base Rent shall be paid, on the
                       Commencement Date.       If the Commencement Date is not the first day of a calendar month, then
                       such first monthly payment of Base Rent shall be in an amount equal to the aggregate of a
                       prorated Base Rent payment ( based on a 30 day month) from such day to the end of that calendar
                       month plus the amount of the full Base Rent payment for the next consecutive calendar month.
         53.
                       Rent Adjustments. On July I, 2021 (" First Rent Adjustment Date"), the monthly Base Rent
                       payable under this Lease shall automatically increase by 3, 0% from the monthly Base Rent
                       amount due and payable during the immediately preceding year. Thereafter, on each anniversary
                       of the First Rent Adjustment Date ( each being a " Subsequent Rent Adjustment Datel during the
                       Term hereof, the monthly Base Rent payable under this Lease shall further automatically increase
                       by 3. 0% from the monthly Base Rent amount due and payable during the immediately preceding
                       year from the then last immediately preceding Subsequent Rent Adjustment Date.

         54.
                       Lessee' s Improvements. Notwithstanding anything to the contrary set forth in this Lease, all
                       Utility Installations, Trade Fixtures and Alterations, including Lessee Owned Alterations and/ or
                       Utility Installations, shall be free and clear of any and all liens and/ or encumbrances in favor of
                       any third -party and shall be available, without limitation, to secure Lessee' s faithful performance
                       of its obligations as set forth in this Lease. Upon any default or breach of this Lease by Lessee
                       whereby Lessor elects to terminate the Lease, such Utility Installations, Trade Fixtures and
                       Alterations, including Lessee Owned Alterations and/ or Utility Installations, shall remain upon
                       and be surrendered by Lessee to Lessor with the Premises, subject to Lessee' s right to remove the
                       same, at Lessee' s sole cost and expense, as set forth below, The Premises shall otherwise be
                       returned to Lessor in the same condition as of the date of this Lease, reasonable weer and test
                       excepted. After the Commencement Date, and thereafter from time to time at the reasonable
                        request of Lessor, Lessee hereby agrees to execute certain security instruments, including, but not
                        limited to, a UCC Form- 1 or other filing, in order to create and/ or perfect Lessor' s security
                        interest in such Utility Installations, Trade Fixtures and Alterations, as set forth herein, which
                        security instruments will be prepared by Lessor and submitted to Lessee, and recorded by Lessor,
                        at Lessor' s sole cost and expense, Upon any termination or earlier expiration of this Lease not
                        resulting from the default or breach of this Lease by Lessee, all Utility Installations, Trade
                        Fixtures and Alterations, including Lessee Owned Alterations and/ or Utility Installations, located
                        in the Premises shall remain upon and be surrendered by Lessee with the Premises, subject to



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                 Lessee' s right to remove the same, at Lessee' s sole cost and expenses, asset forth below.     The
                 Premises shall otherwise be returned to Lessor in the same condition as of the date of this Lease,
                 reasonable wear and tear excepted, Notwithstanding the foregoing, upon any termination or
                 expiration of this Lease not resulting from the default or breach of this Lease by Lessee, Lessee,
                 at Lessee' s option, shall have the right to remove any such Utility Installations, Trade Fixtures
                 and Alterations, including Lessee Owned Alterations and/ or Utility Installations, at Lessee' s sole
                 cost and expense, provided that ( a) all such Utility Installations, Trade Fixtures and Alterations,
                 including Lessee Owned Alterations and/ or Utility Installations shall be removed by Lessee
                 within 15 days after such termination or expiration of this Lease and ( b) Lessee shall, at its sole
                 cost and expense, repair any damage to the Premises caused by such removal.
       55.       Lessor' s Obligation . Notwithstanding anything to the contrary set forth in the Lease, Lessor
                 shall not be required to ( a) remediate or reotify any future non- compliance with governmental
                 regulations or ( b) provide AAA upgrades to the Premises or the Project resulting from the
                 specific and unique use of the Premises ( including without limitation, the Shelter) by Lessee or
                 resulting from any Utility Installations, Trade Fixtures and Alterations, including Lessee Owned
                 Alterations andlor Utility Installations, or other alternations or improvements to the Premises,
                 made by Lessee or Lessor, unless such remediation or upgrades are required as part of the
                  Work" as set forth in. Section 62 herein below prior to occupancy of the Premises and to the
                 extent required to permit Lessee' s occupation and use of the Premises and then, such costs shall
                 be included as part of the " Cost of the Work" as set forth in said Section 62 below. Except as
                 otherwise specifically set forth in this Section 55 below, Lessor shall not be required to make or
                  incur any capital expenditures or commence or complete any remediation of Hazardous
                  Substances or any non- compliance with governmental regulations now in effect; provided,
                  however, the foregoing is not intended to and shall not impose upon Lessee or Lessor any
                  obligation to romediate any Hazardous Substances located on the Premises as of the date hereof
                  unless such remediation is required with any work, improvements or Alterations made or being
                  made by or on behalf of Lessee or Lessor to the Premises prior to occupancy of the Premises to
                  the extent required to permit Lessee' s occupation and use of the Premises and then, such costs
                  shall be included as part of the " Cost of the Work" as set forth in said Section 62 below,
                  Furthermore, notwithstanding anything to the contrary set forth in the Lease, it is the intent of
                  Lessor and Lessee that Lessor shall have no responsibility or obligation whatsoever, for the
                  maintenance, repair or replacement of all or any portion of the Premises, Building, or Project,
                  including, without limitation, the roof and the HVAC system, such responsibility and obligations
                  being that of lessee, Lessee shall property use, operate and safeguard the Premises, including, if
                  applicable, any landscaping, furniture, furnishing and appliances, and all mechanical, electrical,
                  boilers, refrigeration equipment, gas and plumbing fixtures, HVAC and other building systems,
                  and smoke detectors and fire alarms, and keep them and the Premises clean, sanitary and well
                  ventilated and ail drains free from blockages or stoppages. Lessee shall be responsible to pay for
                  all utilities, sewer charges and any roof repairs caused by Lessee' s use or misuse of the roof or
                  otherwise. Lessee shall properly insure all of the Premises and all of Lessee' s and its guests',
                  patients' and invitees' personal property. Notwithstanding anything to the contrary set forth in
                  this Lease, Lessee is solely responsible for any and all upgrades to the existing HVAC system
                   including, without limitation repair, replacement or additions) and any current repairs or
                  replacements of the roof to accommodate and permit Lessee' s use of the Premises as a Shelter
                  and its required occupancy and usage of the Premises, all of which shall be completed prior to
                  Lessee' s opening ofthe Shelter at the Premises, at Lessee' s sole cost and expense and then, such
                  costs shall be included as part of the " Cost of the Work" as set forth in said Section 62 below;
                  provided, further, Lessee hereby affirms and agrees that ( a) the current HVAC system in the
                  Premises is acceptable to Lessee in its current condition, ( b) the roof is acceptable to Lessee in its
                  current condition, and ( a) the current structural portions of the Premises are acceptable to Lessee



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                in their current condition Nothing in this Section SS shall be deemed or construed as modifying
                or amending Lessee' s obligations for the regular and timely maintenance and repair of the
                Premises, roof and HVAC system.

        56.     Neighborhood Conditions. Lessee represents and warrants to Lessor that it is aware of
                neighborhood or area conditions, including schools, proximity and adequacy of law enforcement,
                crime statistics, proximity of registered felons or offenders, fire protection, other governmental
                services, availability adequacy and cost of an speed -wired, wireless Internet connections or other
                telecommunications or other technology services and installations, proximity to commercial,
                industrial or agricultural activities, existing and proposed transportation, construction and
                development that may affect noise, view, or (raffic, airport noise, noise or odor from any source,
                wild and domestic animals, other nuisances, hazard or circumstance, cemeteries, facilities and
                condition of common areas, conditions and influences of significance to certain cultures and/ or
                 religions, and personal needs, requirements and preferences of Lessee.
        57.      Condition of Premises. Notwithstanding anything to the contrary in the Lease, Lessor shall
                 deliver the Premises in its current " as is" condition as of the date hereof, and Lessee shall, and
                 does hereby, accept delivery of the Premises as of the date hereof (" Delivery Date", " Effective
                 Date" or " Commencement Date"). Lessee shall provide Lessor a copy of Lessee' s certificate( s)
                 of liability insurance concurrently with the execution hereof; provided, however, the failure to do
                 so shall not extend the Delivery Date, The Premises are hereby leased to Lessee " as is", without
                 representation or warranty by the Lessor (except as otherwise expressly provided in this Lease),
                 and Lessee hereby accepts the Premises in the condition thereof existing as of the date hereof
                 subject to all applicable zoning, municipal, county, state and federal laws, ordinances, rules,
                 regulations, orders, restrictions of record and requirements now or hereafter in effect during the
                 Term (collectively, " Applicable Requirements", " Applicable Laws" orjust "Laws'). Therefore,
                 notwithstanding anything to the contrary set forth in this Lease, Lessee represents and warrants
                 that Lessee has inspected the Premises, and that Lessee is familiar with the general and specific
                 condition( s) of the Premises and that Lessor shall have no responsibility or liability ( except as
                 otherwise expressly provided in this Lease) with respect to the general or any specific condition
                 of the Premises or any system ( Including, without limitation, HVAC, electrical, plumbing,
                 refrigeration and fire sprinkler) and that Lessee represents and warrants that, except as expressly
                 set forth herein, Lessee is acting, and will act only, upon information known to, or obtained by,
                 Lessee directly from Lessee' s own knowledge and inspection of the Promises ( except as
                 otherwise expressly provided in this Lease), Except as otherwise expressly provided in this
                 Lease, Lessor hereby makes no claims, representations or warranties as to the suitability or lack
                 of suitability of the Promises for any proposed or intended use, or availability or lack of
                 availability of (a) permits or approvals of governmental or regulatory authorities, or (b)
                 easements, licenses or other rights with respect to any such proposed or intended use of the
                 Premises or (c) any condition ofthe Premises, and the availability or lack of availability shall not
                 affect the rights or obligations of the Lessee hereunder.   Therefore: AS A MATERIAL PART
                 OF THE CONSIDERATION FOR THIS LEASE AND THE AMOUNT OF RENT TO BE
                 PAYABLE HEREUNDER, LESSEE AGREES THAT, EXCEPT AS OTHERWISE
                 EXPRESSLY      SET FORTH      HEREIN,    LESSEE LEASES       AND ACCEPTS        THE PREMISES          ON
                 AN " AS IS" AND " WHERE IS" BASIS, WITH ALL FAULTS. EXCEPT AS OTHERWISE
                 EXPRESSLY SET FORTH HEREIN, NO WARRANTY, REPRESENTATION OR
                 GUARANTEE OF ANY TYPE ( EXPRESSED, IMPLIED OR STATUTORY, WRI' CfEN OR
                 ORAL) HAS OR IS MADE BY LESSOR               WITH RESPECT        TO THE PREMISES,
                 INCLUDING, WITHOUT LIMITATION, AS TO ANY OF THE FOLLOWING: ( 1) FITNESS
                 FOR ANY PARTICULAR PURPOSE, ( 11) MERCHANTABILITY, ( 111) CONDITION OR
                 WORKMANSHIP, ( IV) ABSENCE OF DEFECTS OR FAULTS, ( V) PRESENCE OR




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                    ABSENCE OF HAZARDOUS OR TOXIC SUBSTANCES, ( VI) OPERATION OR
                    PERFORMANCE OF THE PREMISES OR SYSTEMS THEREIN OR THE HABITABILITY
                    OF THE PREMISES, ( VII) COMPLIANCE WITH LAWS, ORDINANCES, RULES OR
                    REGULATIONS ( FEDERAL, SATE OR LOCAL) and, INCLUDING, WITHOUT
                    LIMITATION, THOSE RELATING TO HEALTH, SAFETY, AND THE' ENVIRONMENT, AS
                    THEY MAY APPLY TO THE CURRENT CONDITION OF THE PREMISES OR LESSEE' S
                    INTENDED USE OR ( VIII) ANY GOVERNMENT LIMITATION OR RESTRICTION, OR
                    ABSENCE THEREOF, PERTAINING TO THE PREMISES. LESSEE ACKNOWLEDGES
                    THAT LESSEE HAS ENTERED INTO THIS LEASE RELYING UPON ITS OWN
                    INVESTIGATION OF THE PHYSICAL, ENVIRONMENTAL AND COMPLIANCE
                    CONDITION OF THE PREMISES AND THAT LESSEE IS NOT NOW RELYING, AND
                    WILL NOT LATER RELY, UPON ANY REPRESENTATIONS AND WARRANTIES MADE
                    BY LESSOR OR ANYONE ACTING OR CLAIMING TO ACT, BY, THROUGH OR UNDER
                    OR ON LESSOR' S BEHALF CONCERNING THE PREMISES. Lessee is familiar with the
                    Premises and their suitability for Lessee' s Intended use, All documents which have been given to
                    Lessee by Lessor have been delivered as an accommodation to Lessee and without any
                    representation or warranty as to the sufficiency, accuracy, completeness, validity, truthfulness,
                    enforceability, or assignability of any of the documents, all of which Lessee relies on at its own
                    risk.


       58,          Release. Lessee shall rely solely upon Lessee' s own knowledge of the Premises based on its
                    investigation of the Premises end its own inspection of the Premises in determining the Premises'
                    physical condition. Lessee and anyone claiming by, through or under Lessee hereby waives its
                    right to recover from and fully and irrevocably releases Lessor and its respective members,
                    employees, officers, directors, partners, shareholders, beneficiaries, trustees, fiduciaries,
                    representatives, agents, servants, attorneys, affiliates, parent, subsidiaries, successors and assigns,
                    and all persons, firms, corporations and organizations acting in their behalf (" Released Parties")
                    from any and all claims that it may now have or hereafter acquire against any of the Released
                    Parties for any costs, loss, liability, damage, expenses, demand, action or cause of action arising
                    from or related to any construction defects, errors, omissions or other conditions, latent or
                    otherwise, including environmental matters, affecting the Premises or any portion thereof. This
                    release includes claims of which Lessee is presently unaware or which Lessee does not presently
                    suspect to exist which, if known by Lessee, would materially affect Lessee' s release to Lessor, In
                    this connection and to the fullest extent permitted by law, Lessee hereby agrees, represents and
                    warrants that Lessee realizes and acknowledges that factual matters now unknown to it may have
                    given or may hereafter give rise to causes ofaction, claims, demands, debts, controversies,
                    damages, costs, losses and expenses which are presently unknown, unanticipated and
                    unsuspected, and Lessee further agrees, represents and warrants that the waivers and releases
                    herein have been negotiated and agreed upon in light of that realization and that, as a material
                    portion of the consideration given to Lessor by Lessee in exchange for Lessor' s performance
                    hereunder, Lessee nevertheless hereby intends to release, discharge and acquit Lessor from any
                    such unknown causes of action, claims, demands, debts, controversies, damages, costs, losses and
                    expenses which might in any way be included. Lessor has given Lessee material concessions
                    regarding this transaction in exchange for Lessee agreeing to the provisions of this Paragraph.
                    The releases set forth above are full and complete releases of all the persons and entities
                    described above of and from any and all liability of any nature whatsoever for all damage, injury,
                    loss, expense, including any consequential expense, loss or damage, whether the same are now
                    known or unknown to the parties, expected or unexpected by said parties, and all rights under
                    Section 1542 of the California Civil Code are hereby waived and relinquished. Section 1542 of
                    the Civil Code provides as follows:




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                             A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS
                            THAT THE CREDITOR OR RELEASING PARTY DOES NOT
                            KNOW OR SUSPECT TO EXIST IN HIS OR HER FAVOR AT
                            THE TIME OF EXECUTING THE RELEASE, WHICH IF
                            KNOWN BY HIM OR HER WOULD HAVE MATERIALLY
                            AFFECTED HIS OR HER SETTLEMENT WITH THE DEBTOR
                            OR RELEASED PARTY."



                                                         L   see' s Initials


        Notwithstanding anything to the contrary herein, the foregoing release in this Section 58 is not
        intended to and does not cover ( i) any claims arising from a breach by Lessor of any Lessor' s
        obligations under this Lease, or ( Ili) any gross negligence, willful misconduct or fraud committed
        by Lessor.


         9.         Reservations.   Lessee agrees to consent to Lessor' s ( i) grant of such easements, rights and
                    dedications that Lessor deems necessary, ( ii) recordation of parcel maps and restrictions, and
                     Ili) creation andtor installation of new utility raceways, only ifsuch easements, rights,
                    dedications, maps, restrictions, and utility raceways shall not, in Lessee' s reasonable discretion,
                    unreasonably interfere with the use of the Premises by Lessee or otherwise materially negatively
                    impact Lessee' s use or occupation of the Premises; and in such event, Lessee agrees to sign any
                    documents reasonably requested by Lessor to effectuate such rights so long as such documents do
                    not impose any cost or liability on Lessee which is non-de- Minimis, Lessor further reserves the
                    right to change the name by which the Building or the Project ( if any) is called with Lessee' s
                    prior written consent which shall not be unreasonably withheld.
        60.         Assignment and Subletting. Lessee shall have no right to, and shall not, assign, sublet or
                    otherwise transfer all or any portion of the Premises or its rights under and to this Lease without
                    the prior written consent of Lessor, which such consent may be given or denied in Lessor' s sole
                    and absolute discretion ( and which such consent may be conditioned upon Lessee entering into a
                     lease guaranty (" Lease Guaranty") in favor of Lessor ( upon terms and conditions reasonably
                    acceptable to Lessor), whereby Lessee guaranties the performance by such assignee. Any
                     assignment, subletting or transfer without such consent shall be a non -curable Default and Breach
                     hereunder, without any prior notice need being given. Notwithstanding the foregoing, Lessee
                     shall have the right to enter into one or more agreements ( collectively, with any extension,
                     renewal, amendment or replacement thereof, the " City Agreements") with an established third
                     party operator of similar situated homeless navigation centers as the Shelter ('" third Party
                     Operator), provided, however, that Lessee shall have first provided the name of such proposed
                     Third Party Operator, and the terms of the City Agreements and provided further, that no such
                     City Agreement shall modify or amend Lessee' s obligations under this Lease.

         61,         Insurance, Notwithstanding anything to the contrary set forth in the Farm Lease, Lessee shall
                     carry and maintain, at its sole cost and expense, the following insurance: ( 1) Commercial General
                     Liability Insurance ( occurrence form) including coverage for death, bodily injury, with coverage
                     for vandalism and malicious mischief, broad form property damage, contractual liability, owner' s
                     protective, host liquor liability and products/ compieted operations with coverage limits as
                     reasonably required by Lessor from time to time, but in no event less than Five Million Dollars
                        5, 000, 000.00), combined each occurrence and in the aggregate insuring against any and all
                     liability of the Lessee with respect to the Promises and all areas appurtenant thereto or arising out


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                of the maintenance, use or occupancy thereof ( Lessee may satisfy any portion of this requirement
                with umbrella liability coverage); ( ii) Insurance covering any and all improvements, including
                Lessee' s furniture, fixtures and equipment and any Alterations permitted hereunder, and all
                personal property, In an amount not less than their full replacement cost providing protection
                against any peril included within the classification " Special Form" including fire, vandalism and
                malicious mischief, ( III) Automobile liability insurance for all motor vehicles operated by or for
                Lessee, including owned, hired and non -owned vehicles, with minimum combined single limit
                coverage for bodily injury and property damage as reasonably required by Lessor from time to
                time, but in no event less than One Million Dollars ($ 1, 000,000.00) for each occurrence, ( iv) full
                replacement cost plate glass insurance and business interruption insurance in such amount as will
                reimburse Lessee for direct or indirect toss of earnings for up to 12 months attributable to all such
                perils insured against herein or any other cause, ( v) Workers' Compensation, including
                employer' s liability insurance, in compliance with all laws governing worker' s compensation, if
                Lessee falls to maintain such insurance, Lessee shall be deemed to have assumed the risk of all
                losses which would have been covered by such insurance and Lessor shall have no liability for
                any such losses. All of Lessee' s policies of Insurance shall be Issued by insurance companies
                with general policyholder' s rating of not less than A and a financial rating of not less than Class
                A VI as rated in the most current available " Best' s" Insurance Reports and qualified to do
                business in the State of California. All policies shall name Lessor, its related or affiliated entities,
                parents, subsidiaries, partnerships, joint ventures, limited liability companies, members, trusts and
                assigns of every tier ( as identified by Lessor), and each of their respective directors, officers,
                partners, agents, employees, volunteers, members, managers, trustees, shareholders and any
                successors or assigns of the foregoing, as well as Lessor' s management company and if requested
                by Lessor, Lessor' s first mortgagee or beneficiary as additional insureds (to the extent Lessor
                gives written notice to Lessee of the names and addresses of such parties). Certificates for all
                policies shall be delivered to Lessor prior to delivery of possession of the Premises to Lessee, and
                thereafter within thirty ( 30) days prior to the expiration of the term of each such policy. Until
                Lessee has delivered to Lessor such certificates of insurance, Lessor shall not be obligated to
                deliver keys to the Premises to Lessee, and Lessee shall not be entitled to take occupancy of the
                Premises notwithstanding the fact the Term of the Lease and Lessee' s obligation to pay rent
                hereunder may have already commenced. All policies of insumnee must contain a provision that
                Lessor will receive thirty (30) days' advanced written notice orany cancellation, lapse or
                reduction in the amounts ofinsurance. All public liability, property damage and other casualty
                policies shall be written as primary policies, not contributing with or in excess of coverage which
                Lessor may carry. Ali of Lessee' s insurance policies shall contain the following provisions:
                severability of interest, cross liability, and contingent liability and builder' s risk, with respect to
                improvements and alterations required or permitted to be made by Lessee under this Lease. The
                limits of said insurance shall not, however, limit the liability of Lessee hereunder. If Lessee fails
                to maintain or procure such insurance, Lessor shall have the right, but not the obligation, to
                procure and maintain the same, at Lessee' s sole cost and expense. Lessee and Lessor each hereby
                waive any and all rights of recovery against the other, or against the officers, employees, agents
                and representatives of the other, for loss ofor damage to such waiving party or its property or the
                property of others under its control to the extent that such loss or damage is insured against under
                any insurance policy required to be carried under this Lease. Each patty shall, upon obtaining the
                policies of insurance required hereunder, give notice to the insurance carrier or carriers that the
                foregoing mutual waiver of subrogation is contained in this Lease, and shall obtain any special
                endorsements required at the insuring parry' s cost, if any. The parties agree in the event of any
                damage to Lessee, the Premises, Lessee' s property, andlor any loss to Lessee' s employees or
                invitees each shall resort to insurance coverage prior to asserting any claim or demand against the
                other or its assets. Nothing in this Section shall be deemed to constitute a waiver by the




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                  respective insurance carriers of either Lessee or Lessor of any other remedies available to said
                  carriers




        62.       Initial Improvements and Work, Lessor, through the " General Contractor" ( as defined below),
                  shall construct, furnish and install within the Premises, including outside yard area, those items of
                  construction (the " Work") shown on the " Plans" ( as defined below). It is the intent and
                  agreement of the parties that the Work is comprised of all work ( including all hard and soft costs
                  associated with the design and construction of improvements for the Premises, but excluding any
                  costs for furniture, fixtures, Trade Fixtures and other such similar personal property used in
                  connection with the operation of the Shelter) to enable Lessee to furnish and install the Shelter
                  and comprehensive supportive services, which such facility shall contain sleeping areas,
                  restrooms, showers, laundry rooms, kitchen and storage areas, common areas, and offices, and all
                  other ancillary improvements in connection therewith to enable Lessee to operate the Shelter.
                  The architectural, structural, grading, mechanical, electrical, plumbing, sewer and firellife safety
                  standards that shall be applicable to the construction required to complete the Work, shall be
                  subject to Lessor' s rules and regulations applicable to the performance ofthe Work ( collectively,
                  the " Work Standards'), Lessor hereby appoints Jeremy Ogulnick as Lessor' s representative
                     Lessor' s Representative') to act for Lessor in all matters in connection with the Work. Lessee
                   hereby appoints                as Lessee' s representative( s) (" Lessee' s Representative(,)') to act
                   for Lessee in all matters in connection with the Work and Lessee shall be responsible for all costs
                   authorized by Lessee' s Representative( s). All inquiries, requests, instructions, authorizations and
                  other communications with respect to the Work shall be made to Lessor' s Representative or
                   Lessee' s Representative( s), as the case may be. Authorizations made by Lessee' s
                   Representative( s) shall be binding on Lessee. Authorizations made by Lessor' s Representative
                   shall be binding on Lessor. Either party may change its representatives under this Section 62 at
                   any time by written notice to the other party, but any such change shall be effective only upon
                   receipt by the other parry. Notwithstanding the foregoing, in no event shall any direction by
                   Lessor' s Representative or Lessee' s Representative( s) constitute a change in the terms or
                   conditions of the Lease, unless the Lease is expressly modified In a writing executed by both
                   Lessor and Lessee. All work shall be done pursuant to those architectural, electrical, mechanical,
                   plumbing, life safety and structural drawings and specifications ( including all finishes) for the
                   Work, which shall be approved by Lessor and Lessee ( collectively, the " Plans'), Lessee may not
                   make any material changes, modifications or alterations in the Plans ( collectively, " Lessee
                   Changes') at any time without Lessor' s prior written approval thereof which shall not be
                   unreasonably withheld, conditioned or delayed and the cost of any such Lessee Changes shall be
                   added to the Cost of the Work and shall not be included in the " Contingency Amount" ( as defined
                   below) and in the event of any such approved Lessee Changes, the Cost Estimate shall be
                   increased by the amount of such lessee Changes. Lessor may from time to time during the
                   prosecution of the Work require reasonable modifications or amendments to the Plans due to
                   unforeseeable conditions or to the extent changes are required to comply with applicable Laws
                       Lessor Changes') and the cost of any such Lessor Changes shall be included in the
                       Contingency Amount" ( as defined below), unless it is considered a " Change Order" ( as defined
                   below) approved by Lessee, Lessor acknowledges and agrees that Lessor shall be solely
                   responsible for causing the Work to be constructed and maintained, in accordance with all
                   applicable Laws, including, without limitation, the provisions of the American with Disabilities
                   Act, 42 U. S, C, Section 12101 et seq. and any governmental regulations with respect thereto ( the
                    ADA") and other similar Laws. Additionally, to the extent applicable to the Work, Lessor shall
                   be responsible for complying with all pertinent prevailing wage laws pursuant to California Labor
                   Code sections 1720, et seq, Lessee shall pay the entire " Cost of the Work". As used herein, the
                   term " Cost of the Work" means all costs and expenses in connection with the design, furnishing,
                   construction and installation of the Work, including without limitation; ( a) all architectural,


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                engineering and consultant fees associated with the preparation of the Plans; ( b) governmental
                agency plan review, permit, license and other fees ( including, without limitation, any charges
                required by any governmental entity or authority having jurisdiction over the Premises); ( c) sales
                and use taxes; ( d) insurance costs and expenses; ( e) testing and Inspecting costs; ( f) costs and
                expenses of material and labor, including without limitation, General Contractor' s profit and
                general overhead; ( g) costs and expenses associated with the compliance with applicable Laws;
                 h) costs and expenses of alterations of the Premises and all life safety systems necessitated by
                any applicable Law; (1) costs and expenses associated with any modification or addition to the
                Premises or any street or public right of way; 0) all costs and expenses of construction work
                required to complete the Work; ( k) costs and expenses of Lessee signage, if any; ( 1) costs and
                expenses associated with the placement of any new, additional or supplemental mechanical,
                electrical, plumbing or life safety systems on the Premises, including, without limitation, costs
                associated with any repair or replacement of any WVAC units or systems, and running piping and
                conduit to such systems ( the location for such piping and conduit shalt be selected by Lessor);
                 m) costs and expenses associated with any Lessee Changes or Lessor Changes; and ( a) any out-
                of-pocket costs and expenses incurred by Lessor or Lessor' s consultants associated with the
                review of the Plans, Lessor proposed that the entire Cost of Work would be $ 8, 500, 000 for the
                completion of the Work (" Cost Estimate'). Any changes to the scope of Work that would
                increase the " Cost Estimate" must be approved in writing by Lessee prior to commencement of
                such extra Work (" Change Order') provided, however, that Lessor and Lessee also agree to a
                    10% contingency amount equal to $ 850,000 (" Contingency Amount'), which such Contingency
                Amount may be incurred in connection with any Lessor Change, and is to be paid and reimbursed
                to Lessor by Lessee, without such prior written approval of Lessee. Concurrently upon the
                execution of this Lease, Lessee shall deposit with Lessor, the sum of $850,000, which such
                amount shall be a " retainer" against fees and costs incurred by Lessor in connection with Lessor' s
                completion of the Work. All Work shall be completed by a general contractor chosen by Lessor
                but approved by Lessee, which approval shall not be unreasonably withheld, conditioned or
                delayed ( the " General Contractor"). Lessor shall be required to obtain the required permits for
                the Work, with any costs and expenses included within the Cost Estimate. Lessee hereby
                approves Benticy Construction as the General Contractor. Lessee must arrange with an insurance
                company to provide the coverage required under the Lease, the cost of which is not included in
                the Cost Estimate. Prior to the start of Work, Lessor must receive the certificates of insurance
                    required under the Lease.   Such certificate   of insurance shall name Lessor as additional   insured,
                    Lessor shall cause the General Contractor to perform all Work in a good and workmanlike
                    manner and in accordance with good industry practice, applicable Laws and the Lessor' s Work
                    Standards, and in material compliance with the Plans. Lessor shall deliver to Lessee a request for
                    payment from the General Contractor, approved by Lessor, showing the schedule, by trade, of
                    percentage of completion of the Work and the cost of labor rendered and materials delivered to
                    the Premises for which such payment is being requested, which such request for payment may be
                    wbmitted weekly and on or before the seventh ( 7th) Business Day after receipt of such request
                    for payment, Lessee shall deliver a check to Lessor made payable to either Lessor or General
                    Contractor, the amounts so requested by Lessor. During the construction of the Work, Lessor' s
                    Representative and Lessee' s Representative shall meet as often as deemed reasonably necessary
                    by Lessor and/ or Lessee to discuss construction progress. For purposes hereof, "Substantial
                    Completion" ( and any correlative variations thereof) of the Work shall mean completion of
                    construction of the Work in material compliance with the Plans, with the exception of any Punch
                    List Items. For the purposes hereof, the term " Punch List Items" shall mean minor details of
                    construction or decoration or mechanical adjustments that can reasonably be completed after the
                    date Lessee commences its operations within the Premises without causing substantial
                    interference with Lessee' s operations at the Premises. Lessor shall use its good faith efforts to




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                  correct ( or cause General Contractor to correct) all Punch List Items within thirty ( 30) days after
                  Substantial   Completion   of the Lessee Work.

        63.        Operations/ Use. Notwithstanding anything to the contrary set forth in the Form Lease, Lessee
                  agrees that at all times, the Premises ( and the navigation center (" Shelter")) shall be operated ( a)
                  In complete compliance with the attached Exhibit B, ( b) In a first class manner, consistent with
                  the highest quality standards of care, cleanliness and safety for employees, guests, patients,
                  invitees and neighbors, and with proper levels of experienced management and staffing, to enable
                  the provision of appropriate programs and assistance for homeless individuals in the City, and ( c)
                  In full compliance with all applicable local, state and federal laws, rules and regulations.
                  Furthermore, Lessee covenants and agrees that it (and any Third Party Operator) shall not
                  discriminate against any person or group of persons on account of race, disability, color, creed,
                  religion, sex, marital status, sexual orientation, national origin, or ancestry, in the use, occupancy,
                  tenure, or enjoyment of the Shelter. Lessee ( and any Third Party Operator) shall refrain from
                  restricting the use of the Shelter on the basis of the race, age, disability, color, religion, creed,
                  gender, sex, marital status, sexual orientation, ancestry, or national origin of any person, nor shall
                   Lessee, any Third Party Operator or any person claiming under or through Lessee or any Third
                  Party Operator, establish or permit any such practice or practices of discrimination with reference
                  to the selection, location, number, use, or occupancy of the Shelter. Lessee and any Third Party
                   Operator shall comply with the Occupational Safety and Health Act of 1970, 29 U, S. C, section
                   651 at seq., and the Americans with Disabilities Act of 1990, 42 U. S. C, section 12101 at seq„ and
                   any analogous legislation in California ( collectively, ` the Acts"), to the extent that the Acts apply
                   to the Shelter and any activities thereon. Without limiting the generality of the foregoing, Lessee
                   covenants to maintain all non- structural portions of the Shelter including working areas, all
                   machinery, electrical facilities and the like upon the site in a condition that fully complies with
                   the requirements of the Acts.


        64.        Indemnity. Lessee shall indemnify, protect, defend ( with counsel satisfactory to Lessor) and hold
                   harmless Lessor and the Released Parties, from and against any and all claims arising out of,
                   involving, or in connection with, the use and/ or occupancy of the Premises by Lessee, any Third
                   Party Operator or any Lessee' s or any Third Party Operator' s employees, customers, patients,
                   guests, invitees, directors, trustees, fiduciaries, representatives, agents, servants, subsidiaries,
                   successors and assigns, and all persons, firms, corporations and organizations acting in their
                   behalf of the Lessee and any Third Party Operator ( collectively, " Lessee Parties") or any act,
                   omission or negligence of any Lessee and/ or any of the Lessee Parties or any Default and/ or
                   Breach by Lessee of any covenants, terms and/ or conditions set forth in this Lease, either prior to,
                   during, or after the expiration ofthe Term and including any claims brought or arising out of any
                   civil tort or criminal activity; provided however, that the foregoing indemnification shall not
                   apply to the extent arising out of the gross negligence or willful misconduct of Lessor or the
                   Released Parties. If any action or proceeding is brought against Lessor by reason of any of the
                   foregoing matters, Lessee shall upon notice defend the same at Lessee' s sole cost and expense by
                   counsel reasonably satisfactory to Lessor and Lessor shall reasonably cooperate with Lessee in
                   such defense. If Lessor In its sole discretion shall determine that it is in Lessor' s interest to have
                   separate legal counsel, Lessee shall indemnify Lessor for any legal fees and costs incurred by
                   Lessor for the defense of any such claims. Lessor need not have first paid any such claims in
                   order to be defended or indemnified    hereunder,


                   Lessor shall indemnify, protect, defend ( with counsel satisfactory to Lessee) and hold harmless
                   Lessee and the Lessee Parties, from and against any and all claims arising out of, involving, of in
                   connection with, the gross negligence or willful misconduct of Lessor relating to the Premises
                   either prior to, during, or after the expiration of the Term and Including any claims brought or



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                  arising out of any civil tort or criminal activity; provided however, that the foregoing
                  indemnification shall not apply to the extent arising out of the gross negligence or willful
                  misconduct of Lessee or the Lessee Parties. If any action or proceeding is brought against Lessee
                  by reason of any of the foregoing matters, Lessor shall upon notice defend the same at Lessor' s
                  sole cost and expense by counsel reasonably satisfactory to Lessee and Lessee shall reasonably
                  cooperate with Lessor in such defense. If Lessee in its sole discretion shall determine that it is in
                  Lessee' s interest to have separate legal counsel, Lessor shall indemnify Lessee for any legal fees
                  and costs incurred by Lessee for the defense of any such claims, Lessee need not have first paid
                  any such claims in order to be defended or indemnified hereunder.

       65,
                  Notices. Notwithstanding anything to the contrary in the Form Lease, all notices, requests, or
                  demands herein provided to be given or made, or which may be given or made by either party to
                  the other, shall be given or made only in writing and shall be deemed to have been duly given: ( i)
                  upon delivery, or if delivery is rejected when delivery was attempted, of U. S. Certified Mail,
                  properly addressed, postage prepaid with return receipt requested; or ( it) upon delivery, or if
                  delivery is rejected when delivery was attempted, when sent via overnight or express mail
                  courier, properly addressed and postage prepaid; ( fit) when delivered personally at the address
                  listed below their respective signatures ( signature required), or ( iv) by e- mail, and if so sent, ( a)
                  the subject line of the e- mail shall state " URGENT: NOTICE TO [ LESSEE] [ LESSOR]" ( or
                  substantially similar thereto) and ( b) followed within one ( 1) business day by a copy sent by a
                  method prescribed in ( i), ( it) or ( iv) above; provided however, that nil deliveries or attempted
                  deliveries shall only be made or attempted to be made on a Business Day. Notwithstanding the
                  prescribed methods of delivery set forth above, actual receipt of written notice by a parry
                  designated below shall constitute notice given in accordance with the Agreement on the date
                  received, unless deemed earlier given pursuant to the foregoing methods of delivery. The proper
                  address to which notices, requests or demands may be given or made by either party shall be the
                  address set forth for such party as set forth in the Form Lease, or to such other address or to such
                  other person as any party shall designate in writing, such address may be changed by written
                  notice given to the other parry in accordance with this Paragraph.

       66.        ADA Upg a    des. Except with respect to the Work as set forth in Section 62 above, Lessor shall
                  not be required to provide ADA upgrades to the Premises.

       67,        intentionally Omitted.

       69.        Inspections. Notwithstanding anything to the contrary set forth in the Form Lease, upon
                  reasonable notice to Lessee, Lessor shall have the right to inspect the Premises, or cause the
                  Premises to be inspected by a third party chosen by Lessor, to verify that Promises are at all times
                  being operated in full compliance with the terms of Paragraph 61 of this Addendum and as
                  otherwise required by this Lease. In the event that any such inspection reveals any such non•
                  compliance, the same shall be, at the option of Lessor, a Default and or Breach by Lessee under
                  the Lease. As additional consideration for Lessor' s entering into this Lease. Lessee shall
                  reimburse and pay to Lessor, in addition to Base Rent and other Rent due hereunder, the cost of
                  any such inspection, up to $ 500 per inspection but no more than once each calendar month, to
                  help offset the cost of such inspections, such amounts to be paid by Lessee to Lessor within 5
                  days after Lessee' s receipt from Lessor of a copy of the applicable inspection report and invoice
                  therefor, and all such amounts being deemed Rent under this Lease.

        69.       Option to Purchase. Lessor hereby grants to Lessee an option ( the " Purchase Option") during the
                  Purchase Option Period ( as defined herein below) to purchase the Premises upon the following
                      terms;




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                 69. 1.   Purchase Price. The Purchase Price for the Premises shall be equal to the sum of
                           9,200, 000 ( the " Initial Price") plus the Increase Amount ( as defined below) ( said Initial
                          Price plus the Increase Amount, if any, being the " Purchase Price"), payable in cash at
                          Closing (as defined below); provided, however, that the Initial Price is based in part upon
                          Lessor' s original purchase price of the Premises and in the event that Lessor receives any
                          monies back in respect thereof from its seller as set forth in its original purchase
                          agreement, the Initial Price shall be reduced by said amount so received. The " Increase
                          Amount" shall be the amount equal to 50% of the increase in the Consumer Price Index
                          for all Urban Consumers for the Los Angeles -Anaheim -Riverside area, all items
                          published by the United States Department of Labor, Bureau of Labor Statistics ( 1982-
                          84- 100) (" Index") from May 2020 (" Base Index") to the date of the Notice of Exercise
                           as defined below); such increase to be calculated by taking the Initial Price and
                          multiplying it by a fraction, the numerator being the Base Index, and the denominator
                          being the Index published for the month in which the Notice of Exercise is delivered, if
                          the Index is changed so the Index differs &am that used as ofthe date hereof, the Index
                          shall be converted under the conversion factor published by the United States Department
                          of Labor, Bureau of Labor Statistics, if the Index Is discontinued or revised during the
                          Lease Term, such other governmental Index or computation with which it is replaced
                          shall be used to obtain substantially the same results as would be obtained if the Index
                          had not been discontinued or revised. Notwithstanding the foregoing, the Increase
                          Amount shall not increase the Initial Price by an amount equal to mono than 1. 501* per
                          year ( non -compounding).    Additionally, in the event Lessor receives funds for the
                          Regulatory Safety Permit, the Purchase Price shall be reduced by $ 1, 000, 000 or the
                          amount of such funds that are received by Lessor, provided, however, that any interest
                          collected by Lessor in connection with such Regulatory Safety Permit amount shall not
                          be included in the reduction of such Purchase Price.

                 69.2.    Term or Purchase Option. The term of the Purchase Option shall commence upon the I °
                          day of the 131h month of the Term of the Lease ( the " Purchase Option Commencement
                          Date") and shall expire on the earlier of (a) the five ( 5) year anniversary of the
                          Commencement Date and ( b) the expiration or termination of this Lease for any reason
                          whatsoever ( the " Purchase Option Termination Date"), The period between the Purchase
                          Option Commencement Date and the Purchase Option Termination Date shall be referred
                          to herein as the " Purchase Option Period"     In the event Lessee fails to timely exercise the
                          Purchase Option within the Purchase Option Period, the Purchase Option, and all rights
                          of Lessee, shall immediately and automatically cease and terminate, and the Purchase
                          Option shall in that event be null and void and be of no further force or effect whatsoever.
                          Lessee may exercise the Purchase Option only in the manner provided in Section 69. 4
                          below.


                 69. 3.   InvesU ati ons. During the Purchase Option Period, Lessee shall be permitted to
                          investigate the Premises and undertake all actions that it deems necessary ordesirable to
                          ascertain the condition of the Premises which includes, but is not limited to, the
                          environmental condition of the Premises, status oftitle to the Premises, and the condition
                          of the improvements on the Premises. Accordingly, during the Purchase Option Period,
                          Lessee shall have, in addition to its rights as the tenant of the Premises hereunder, and Is
                          hereby granted, the right to make and conduct such non- invasive surveys, studies, tests,
                          investigations, and inspections ( environmental and otherwise) as Lessee deems
                          reasonably necessary or convenient; provided that Lessee may make such invasive
                          surveys, studies, tests, investigations or inspections as it deems reasonably necessary or
                          convenient only upon the prior written consent of Lessor which shall not be unreasonably



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                           withheld, All such surveys, studies, tests, investigations and inspections shall be
                           performed at the sole cost and expense of Lessee and Lessee shall Indemnify, defend and
                           hold Lessor harmless from and against any and all cost, expense, liability arising from or
                           in connection with any such surveys, studies, tests, investigation and inspections.

                 69. 4.    Exercise of purchase Option. To exercise the Purchase Option, Lessee shall serve written
                           notice of exercise upon Lessor or Lessor' s legal representatives at any time after the
                           Purchase Option Commencement Date but prior to the Purchase Option Termination
                           Date (" Notice of Exercise"), which such Notice of Exercise shall be accompanied by a
                           cash or cash equivalent in the amount of One Hundred Thousand Dollars ( S 100, 000. 00)
                             Deposit"). The Deposit shall be invested by Escrow Holder (as defined below) in a
                           federally Insured interest• bearing account with any interest accruing thereon to be paid or
                           credited to Lessee. At the Close of Purchase Option Escrow, the Deposit and any
                           accrued interest thereon shall be applied and credited toward payment of the Purchase
                           Price. The Notice of Exercise shall provide at least 90- 120 days for Lessor to locate an
                           exchange property prior to the Closing of the Purchase Option Escrow.

                  69.5.    Escrow. If Lessee timely exercises the Purchase Option by the timely delivery of the
                           Notice of Exercise and the Deposit, Lessor and Lessee shall immediately open an escrow
                            Option Escrow") with Chicago Title Company (" Escrow Holder", the specific escrow
                           officer being chosen by Lessor, or Lessor may choose such other escrow or title company
                           in its reasonable discretion upon written notice to Lessee, which such escrow or title
                           company shall be subject to Lessee' s approval, which will not be unreasonably withheld,
                           conditioned or delayed), whereupon the Deposit shall be delivered to Escrow Holder.
                           This Agreement shall constitute joint escrow Instructions to Escrow Holder with respect
                           to the purchase and sale of the Premises. The parties shall execute such additional
                           escrow instructions which are not inconsistent with the provisions of this Agreement and
                           which may be required by Escrow Holder in order to close such escrow,

                  69. 6.   Payment, The Purchase Price shall be paid in cash upon the Close of Purchase Option
                           Escrow ( as defined below).


                  69, 7.   Closing. The close of the Purchase Option Escrow for the purchase and sale of the
                           Premises shall occur on or before the date which is thirty ( 30) days (" Scheduled Closing
                           Date") after the date of delivery of the Notice of Exercise by Lessee to Lessor ( the " Close
                           of Purchase Option Escrow" or " Closing"). For purposes hereof, the Close of Purchase
                           Option Escrow ( and Closing) shall be the date on which the Grant Deed conveying the
                           Premises to Lessee is recorded.

                           a)       If, following Lessee' s timely and proper exercise of the Purchase Option, the
                                    Closing fails to occur as a result of Lessor' s breach or default and if Lessor
                                    should remain in default in any material respect in the performance of any of
                                    Lessor' s obligations   under the Lease with respect to the sale of the Premises after
                                    the fifth ( 5th) Business Day following the delivery by Lessee to Lessor of written
                                    notice of such default, Lessee shall be entitled, as its sole and exclusive remedy
                                    for any such default, to elect any one of the following remedies ( so long as title
                                    to the Premises has not been further encumbered involuntarily or by or with the
                                    consent of Lessor, and Lessor elects not to remove such encumbrance on or prior
                                    to Closing): ( i) terminate its Purchase Option and receive the return of the
                                    Deposit, and, thereafter, the parties shall have no further rights or obligations
                                    hereunder except that if applicable, the Lease shall continue thereafter in full



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                            force and effect, or for obligations which expressly survive the termination of the
                            Purchase Option; or ( ii) bring and pursue an action for specific performance of
                            the Purchase Option; or ( III) waive the default and proceed to close the
                            transaction contemplated herein. As a condition precedent to Lessee exercising
                            any right it may have to bring an action for specific performance hereunder,
                            Lessee must commence such an action within thirty ( 30) days after the
                            occurrence of Lessor' s default. Lessee agrees that its failure to timely commence
                            such an action for specific performance within such thirty ( 30) day period shall
                            be deemed a waiver by it of its right to commence an action for specific
                            performance as well as a waiver by it of any right it may have to file or record a
                            notice of lis pendens or notice of pendency of action or similar notice against the
                            Premises.


                       b)   If, following Lessee' s timely and proper exercise of the Purchase Option, the
                            Closing fails to occur as a result of Lessee' s breach or default, and if Lessee
                            should remain in default in any material respect in the performance of any of
                            Lessee' s obligations with respect to the purchase of die Premises after the fifth
                             5th) Business Day following the delivery by Lessor to Lessee of written notice
                            of such default, THEN AND IN SUCH EVENT, NOTWITHSTANDING
                            ANYTHING      HEREIN TO THE CONTRARY,             LESSEE AND LESSOR
                            AGREE THAT LESSOR WILL INCUR DAMAGES BY REASON OF SUCH
                            DEFAULT BY LESSEE, WHICH DAMAGES SHALL BE IMPRACTICAL
                            AND EXTREMELY DIFFICULT, IF NOT IMPOSSIBLE, TO ASCERTAIN.
                            LESSEE AND LESSOR, IN A REASONABLE EFFORT TO ASCERTAIN
                            WHAT LESSOR' S DAMAGES WOULD BE IN THE EVENT OF SUCH
                            DEFAULT BY LESSEE HAVE AGREED BY PLACING THEIR INITIALS
                            BELOW THAT THE AMOUNT OF THE DEPOSIT SHALL BE DEEMED TO
                            CONSTITUTE A REASONABLE ESTIMATE OF LESSOR' S DAMAGES
                            UNDER THE PROVISIONS OF SECTION 1671 OF THE CALIFORNIA
                            CIVIL CODE AND THE PAYMENT AND RETENTION OF SUCH AMOUNT
                            AS LIQUIDATED DAMAGES IS NOT INTENDED AS A FORFEITURE OR
                            PENALTY     WITHIN     THE MEANING        OF CALIFORNIA       CIVIL CODE
                            SECTIONS     3275 OR 3369.     IN THE EVENT OF AND FOR SUCH DEFAULT
                            BY LESSEE; LESSOR SHALL RETAIN THE DEPOSIT AS LIQUIDATED
                            DAMAGES AS LESSOR' S SOLE REMEDY THEREFOR, UNLESS LESSEE
                            WRONGFULLY REFUSES TO CAUSE ESCROW HOLDER TO CANCEL
                            THE ESCROW OR TO RELEASE THE DEPOSIT TO LESSOR, IN WHICH
                            INSTANCE LESSOR SHALL ALSO BE ENTITLED TO ALL COSTS AND
                            EXPENSES, INCLUDING ACTUAL ATTORNEYS' FEES INCURRED BY
                            LESSOR WITH RESPECT TO THOSE CONSEQUENTIAL DAMAGES, IF
                            ANY, WHICH MAY BE INCURRED BY LESSOR, AFTER THE CLOSING
                            DATE OR OTHER TERMINATION OF THIS AGREEMENT OR
                            CANCELATION OF THE TRANSACTIONS HEREIN CONTEMPLATED BY
                            REASON OF THE CLOUD ON TITLE TO THE PROPERTY                        WHICH MAY
                            RESULT FROM LESSEE' S WRONGFUL FAILURE TO CANCEL THE
                            ESCROW AND THIS AGREEMENT. ESCROW HOLDER IS HEREBY
                            INSTRUCTED TO IMMEDIATELY RELEASE THE DEPOSIT TO LESSOR
                            IN THE EVENT OF A BREACH BY LESSEE HEREUNDER, IN ADDITION,
                            IF LESSEE WRONGFULLY FAILS TO CAUSE SUCH SUM TO BE
                             DELIVERED     TO LESSOR AS HERETOFORE              PROVIDED,      INTEREST
                            SHALL ACCRUE THEREON AT THE MAXIMUM                       RATE ALLOWED BY



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                                 LAW FROM THE DATE OF LESSOR' S WRITTEN NOTICE OF DEFAULT
                                 AND TERMINATION UNTIL PAYMENT THEREOF. IN ADDITION,
                                 LESSEE SHALL PAY ALL TITLE AND ESCROW CANCELLATION
                                 CHARGES. FURTHERMORE AND NOT WITHSTANDING THE
                                 FOREGOING, THIS PARAGRAPH PERTAINS ONLY TO A DEFAULT BY
                                 LESSEE WITH RESPECT TO THE PURCHASE OPTION AND SHALL NOT
                                 RESTRICT, LIMIT, MODIFY, ALTER OR AMEND, IN ANY MANNER
                                 WHATSOEVER, ANY RIGHT OR REMEDY OF LESSOR IN THE EVENT
                                 OF A D
                                 O;                    T BY LESSEE UNDE       T E LEASE,


                                 Lo
                                       r7    nitials                        I Lessor' s Initial$

                                  c)
                                        Except as otherwise set forth herein, either party shall not be liable for
                                 consequential or speculative damages in connection with such party' s breach or
                                 default hereunder.


                                  d)
                                           Additionally, and notwithstanding the foregoing, if following Lessee' s
                                 timely and proper exercise of its Purchase Option, the Premises suffer a material
                                 casualty ( which, for purposes hereof shall mean damage with a cost to repair in
                                 excess of$ 100, 000 not caused by Lessee or any employee, resident, guest or
                                 invitee of Lessee), then Lessee shall have the right to either ( i) proceed with the
                                 Close of Escrow ( in which case, if there were such a material casualty Lessee
                                 shall be entitled to receive all available insurance proceeds and receive a
                                  reduction of the Purchase Price in an amount equal to the deductible amount and
                                 any required co- insurance payment with respect to the insurance, and there shall
                                  be no other reduction in the Purchase Price), or ( ii) rescind the Notice of
                                  Exercise, in which case the Deposit shall be returned to Lessee, the Lease shall
                                  continue in full farce and effect ( Including Lessee' s right to later re -exercise the
                                  Purchase Option), and Lessee shall not be liable for any costs incurred by Lessor
                                  with respect to the failed Closing; provided, however that each of Lessee and
                                  Lessor shall pay one- half of the Escrow Holder' s costs and fees in connection
                                  with the Option Escrow and its cancellation.

                                  e)
                                          Additionally, and notwithstanding the foregoing, if the Closing is unable
                                  to occur for a reason other than a breach or default by Lessee or Lessor, then
                                  Lessee shall have the right to rescind the Notice of Exercise, in which case the
                                  Deposit shall be returned to Lessee, the Lease shall continue in full force and
                                  effect ( including Lessee' s right to later re -exercise the Purchase Option), and
                                  Lessee shall not be liable for any costs Incurred by Lessor with respect to the
                                  failed Closing; provided, however that each of Lessee and Lessor shall pay one-
                                  half of the Escrow Holder' s costs and fees in connection with the Option Escrow
                                  and its cancellation.



                  69.8.   C n dition of Property. Lessee represents and warrants that Lessee has, or shall have
                          inspected and conducted tests and studies of the Premises, and that Lessee is familiar
                          with the general condition of the Premises. Lessee understands and acknowledges that
                          the Promises may be subject to earthquake, fire, Floods, erosion, high water table,
                          dangerous underground soil conditions, hazardous materials and similar occurrences that
                          may alter its condition or affect its suitability for any proposed use. Except as otherwise

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                             expressly provided in the Lease, Lessor shall have no responsibility or liability with
                             respect to any such occurrence. Lessee represents and warrants that, except for Lessor' s
                             express representations and warranties herein, Lessee is acting, and will act only, upon
                             information obtained by Lessee directly from Losseo' s own inspection of the Premises,
                             Lessor hereby makes no claims, representations or warranties as to the suitability or lack
                             of suitability of the Premises for any proposed or intended use, or availability or lack of
                             availability of (a) permits or approvals of governmental or regulatory authorities, or ( b)
                             easements, licenses or other rights with respect to any such proposed or intended use of
                             the Promises shall not affect the rights or obligations   of the Lessee hereunder.

                  69. 9. "    As Is". Lessee expressly agrees that If it completes the purchase of the Premises ( i) that
                             it is purchasing the Premises on an " As Is" basis and based on its own investigation of the
                             Premises, ( ii) that, except as expressly set forth herein, neither Lessor nor Lessor' s
                             employees, agents, brokers, representatives, managers, property managers, asset
                             managers, officers, principals, beneficiaries, trustees, attorneys or contractors
                              collectively, " Lessor' s Representatives") have made any warranty, representation or
                             guarantee, expressed, implied or statutory, written or oral, including, without limitation,
                             any implied warranty of merchantability or fitness for any use or purpose or of
                             reasonably workmanship, concerning the Premises or any ofthe products or
                             improvements located thereon or therein; ( III) that, except as otherwise expressly set forth
                             herein, neither Lessor nor Lessor' s Representatives have made any warranty,
                             representation, or guarantee, expressed, implied or statutory, written or oral, pertaining to
                             the Premises' compliance with any laws, ordinances, rules or regulations, federal, state or
                             local and ( iv) except as otherwise expressly set forth herein, that neither Lessor nor
                             Lessor' s Representatives have made any warranty, representation or guarantee,
                             expressed, implied or statutory, written or oral, as to any government limitation or
                             restriction, or absence thereof, pertaining to the Premises, or as to the presence or absence
                             of any latent defect, subsurface soil condition, environmental condition, hazardous
                             substance, toxic waste or any other matter pertaining to the physical condition (title,
                             mapping, grading, construction, or otherwise) of the Premises. Lessee is or ns of the
                             Close of Purchase Option Escrow will be familiar with the Premises and their suitability
                             for Lessee' s Intended use. All documents which have been given to Lessee by Lessor, or
                             Lessor' s Representatives, have been delivered as an accommodation to Lessee and
                             without any representation or warranty as to the sufficiency, accuracy, completeness,
                             validity, truthfulness, enforceability, or assignability of any of the documents, all of
                             which Lessee relies on at its own risk. Lessee acknowledges and agrees that, except as
                             otherwise expressly set forth herein, Lessee' s only recourse for any defect in title shall be
                             against the title company and not Lessor.

                   69. 10,   Release. Lessee shall rely solely upon Lessee' s own knowledge of the Premises based on
                             its investigation of the Premises and its own inspection of the Premises In determining the
                             Premises' physical condition. Effective upon the Close of Escrow, Lessee and anyone
                             claiming by, through or under Lessee hereby waives its right to recover from and fully
                             and irrevocably releases Lessor and Its respective members, employees, officers,
                             directors, partners, shareholders, beneficiaries, trustees, Fiduciaries, representatives,
                             agents, servants, attorneys, affiliates, parent, subsidiaries, successors and assigns, and all
                             persons, firms, corporations and organizations acting in their behalf ("Released Parties")
                             from any and all claims that it may now have or hereafter acquire against any of the
                             Released Parties for any costs, loss, liability, damage, expenses, demand, action or cause
                             of action arising from or related to any construction defects, errors, omissions or other
                             conditions, latent or otherwise, including environmental matters, affecting the Promises


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                             or any portion thereof This release includes claims of which Lessee is presently unaware
                             or which Lessee does not presently suspect to exist which, if known by Lessee, would
                             materially affect Lessee' s release to Lessor. In this connection and to the fullest extent
                             permitted by law, Lessee hereby agrees, represents and warrants that Lessee realizes and
                             acknowledges that factual matters now unknown to it may have given or may hereafter
                             give rise to causes of action, claims, demands, debts, controversies, damages, costs,
                             losses and expenses which are presently unknown, unanticipated and unsuspected, and
                             Lessee further agrees, represents and warrants that the waivers and releases herein have
                             been negotiated and agreed upon in light of that realization and that, as a material portion
                             of the consideration given to Lessor by Lessee in exchange for Lessor' s performance
                             hereunder, Lessee nevertheless hereby intends to release, discharge and acquit Lessor
                             from any such unknown causes of action, claims, demands, debts, controversies,
                             damages, costs, losses and expenses which might in any way be included. Lessor hug
                             given Lessee material concessions regarding this transaction in exchange for Lessee
                             agreeing to the provisions of this Section.

                   69. 11.   Additional Release. The releases set forth in Section 69. 10 above and this Section 69. 11
                             are full and complete releases of all the persons and entities described above of and from
                             any and all liability of any nature whatsoever for all damage, injury, loss, expense,
                             including any consequential expense, loss or damage, whether the same are now known
                             or unknown to the parties, expected or unexpected by said parties, and all rights under
                             Section 1542 of the California Civil Code are hereby waived and relinquished. Section
                             1542 of the Civil Code provides as follows:

                                      A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS
                                     THAT THE CREDITOR OR RELEASING PARTY DOES
                                     NOT KNOW OR SUSPECT TO EXIST IN HIS OR HER
                                     FAVOR AT THE TIME OF EXECUTING THE RELEASE
                                     AND THAT, IF KNOWN BY HIM OR HER WOULD HAVE
                                     MATERIALLY AFFECTED HIS OR HER SETTLEMENT
                                     WITH THE DEBT                       L       ED PARTY."

                                                              sse        ntals



                             Notwithstanding anything to the contrary herein, the foregoing releases in Section
                             69. 10 and this Section 69. 11 are not intended to and do not cover ( i) any claims
                             arising from a breach by Lessor of any Lessor' s obligations under this Lease, or
                              iii) any gross negligence, willful misconduct or fraud cornmitted by Lessor.
                   69. 12.   Permissible Title Exceptions.   Upon the Close of Purchase Option Escrow, Lessor shall
                             convey the Premises to Lessee by a grant deed ( the " Grant Deed"), The Grant Deed shall
                             be subject only to the following (collectively, the " Permitted Exceptions"):
                             a)      Current Matters of Record. Those matters of record identified on the attached
                                      Exhibit A.


                             b)       Lease, This Leese.

                             c)
                                      Future Non -Monetary Exceptions. All monetary and non -monetary
                                      encumbrances placed against the Premises or which may appear of record after
                                      the date hereof as the result of any action or inaction of Lessee ( including any

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                                        monetary encumbrances appearing of record as a result of any action or inaction
                                        by Lessee during the Purchase Option Term).

                             d)
                                        Taxes. Non -delinquent general, special and supplemental real property taxes and
                                        assessments; provided however, all delinquent taxes and assessments relating to
                                        the period following the Commencement Date of the Lease are the responsibility
                                        of Lessee pursuant to this Lease and shall be paid by Lessee at Closing.
                             e)
                                        Printed Exceptions. Matters shown as printed exceptions in the standard form of
                                        Owner' s Policy of Title Insurance.

                             Title Insurance.    Lessor shall cause to be delivered to Lessee upon the Close of Purchase
                             Option Escrow, an ALTA standard coverage owner' s policy of title insurance on the
                             Premises issued by Escrow Holder with policy limits equal to the Purchase Price and
                             insuring title to the Premises in the condition set forth above and otherwise vested in
                             Lessee. Lessee shall have the right to request issuance of an ALTA extended coverage
                             owner' s policy of title insurance and any endorsements it may require, but the Closing
                             shall not be delayed or conditioned on the issuance of same. Lessee shall obtain, at its
                             sole cost and expense, any survey required to obtain any such extended coverage Title
                             insurance, and the obtaining or failure to obtain any such survey shall not delay the
                             Closing.

                  69. 13, Additional Closing Documents As part of the Closing, the parties shall execute and
                          deliver the following additional documents to the Escrow Holder:
                             a)         Lessor and Lessee shall execute and deliver an Assignment and Assumption of
                                        Lease;


                             b)         Lessor shall execute and deliver a Bill of Sale and General Assignment;

                             c)         Lessor shall execute and deliver a Transferor' s Certification   of Non - Foreign
                                        Status, together with a California Form 593- C, reflecting that no tax withholding
                                        is required; and

                             d)         Lessor and Lessee shall deliver such additional, customary escrow closing
                                        documents and instruments as Escrow Holder shall reasonably require, including
                                        appropriate evidence of authority and a customary owner' s affidavit.

                             The Grant Deed and those documents specified in Paragraphs 69.9 ( a), ( b) and ( c) shall
                              be prepared by Lessor and delivered to Lessee for review and approval not later than ten
                                  10) days prior to the Scheduled Closing Date. The exact form and content of such
                              documents shall be subject to good faith negotiation by lessor and Lessee and the failure
                              of Lessor and Lessee to agree upon the form of such documents not later than 2 Business
                              Days prior to the Scheduled Closing Date shall constitute the failure of a. condition of
                              closing, and either parry shall then have the right to terminate the Purchase Option and
                              the sale of the Premises.

                   69. 14.    Prorations and Credits. Pursuant to the terms of the Lease, all real property taxes and
                              assessments and utilities are to be paid by Lessee and as such no prorations for the same
                              are to be made.




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                   69. 15.   Closing Costs. Lessor shall pay for (a) all premiums for the ALTA standard coverage
                             portion of the Title Policy, ( b) one- half (%) of all Escrow fees and costs, ( c) all sales and
                             gross receipts taxes, ( d) all documentary transfer and/ or stamp taxes, if any, and ( e)
                             Lessor' s share of prorations, if any. Lessee shall pay for ( i) all premiums for the ALTA
                             extended coverage portion of the Title Policy and any endorsements requested by Lessee,
                             ii) all costs relating to the survey and all reports, studies, inspections, investigations and
                             all other costs and expenses incurred by Lessee in connection with its review of any
                             materials, documents, materials, the Premises and other such due diligence conducted by
                             Lessee, ( iii) any document recording fees and charges, ( iv) one- half (%:)of all Escrow
                             fees and costs, and ( v) Lessee' s share of proration, if any. Lessor and Lessee shall each
                             pay for all of its respective legal and professional fees and fees of other consultants
                             incurred by such respective party, and if Lessee shall finance any of the Purchase Price,
                             Lessee shall pay all costs and expenses incurred or arising in connection with such
                             financing. All other normal and customary closing costs and expenses shall, except as
                             otherwise herein set forth, be allocated between Lessor and Lessee in accordance with the
                             customary practice in the County in which the Project is situated.

                   69. 16. Purchase Option Assignment. The Purchase Option is personal to Lessee and may not be
                           assigned in whole or in part at any time. Notwithstanding the foregoing, Lessee may
                           assign the Purchase Option to any other governmental entity approved by the City to
                             whom this Lease is assigned as set forth in Section 60 herein above.


                                              remainder of page left intentionally, blank)




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          70,
                      QMgYpads, The Form Lasso and Addendum may each be excouted in multiple counterparts
                      and by separate parties on separate counterparts and delivered via faosimilo or other means of
                      electronic image transmission, each of which shall be devoted an original Nr all purposes, but all
                      of which, together, shall constitute one and the same instrument,
                 LESSOR:                                             LESSI$E:

                 DYER 18, LLC




                 sy:

                 Title:         hhQr




                                                                   See attached City of Santa Ana
                                                                                  signature page




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                                Lessee City of Santa Ana Signature Page to:

                                               Addendum to
                        Standard Industrial/ Commercial Single -Tenant Lease —Net
                                For Certain Premises Commonly Known as
                              1815 East Carnegie, Santa Ana, California 92705
                                              March 1, 2021




    CITY OF SANTA ANA:




    Kristine Ridge

    City Manager


    APPROVED         AS TO FORM:                                                   FOR APPROVAL:
    Sonia R. Carvalho
    Ci"   ttomey



    Ry O. odge                                                Steven Mendoza
    Assistant City Attorney                                   Executive Director

                                                              Community Development Agency
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                 EXHIBIT " A" — LIST OF PERMITTED EXCEPTIONS

                 See attached




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                  EXHIBIT " B" — DESCRIPTION     OF LESSEE USES




                The property will be used as an emergency homeless shelter and ancillary uses thereto are center,
        health clinic, and ancillary office space Services to be provided include case management, housing
        navigation, behavioral health and substance use counseling, healthcare coordination, and job
        development, Outdoor property perimeter will be covered with screened fences to limit visibility into the
        area. Outdoor facilities will include client storage area, pet accommodations, smoking area, outdoor
        common area, recreational area, and temporary modular housing. There will be 2417 security guard
        presence at the property to promptly resolve any security issues that may arise. In addition, this property
        is not a walk- in facility. All client transportation to and from the facilities will be provided. In addition,
        there is a Good Neighbor Policy which will be implemented by Lessee ( and its Third Party Operator) to
        promote positive communication and relationship with neighbors on an ongoing basis.




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